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                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                      *       CRIMINAL NO. 20-cr-00055
                                              *            SECT. F. MAG.4
VERSUS                                        *
                                              *       JUDGE AFRICK
JASON R. WILLIAMS               (01)          *
NICOLE E. BURDETT               (02)          *       MAGISTRATE JUDGE ROBY

UNITED STATES OF AMERICA                      *       CRIMINAL NO. 20-cr-00139
                                              *            SECT. F. MAG.3
                                              *
VERSUS                                        *       JUDGE AFRICK
                                              *
NICOLE E. BURDETT                (01)         *       MAGISTRATE JUDGE DOUGLAS


                   GOVERNMENT’S PROPOSED TRIAL EXHIBIT LIST
        NOW INTO COURT, through the undersigned Assistant United States Attorneys, comes

United States of America, who respectfully submits the below proposed exhibit list for the jury

trial of this matter set for July 18, 2022:


 EXHIBIT DESCRIPTION                                                    BATES RANGE
 NUMBER
 1       Louisiana Secretary of State                                   G0110572-G0110589
         Jason Rogers Williams and Associates, LLC
         Articles of Organization
         Initial Report
         Notice of Change
         Limited Liability Company Annual Report 8/25/2011 –
         8/25/2020
 2       Louisiana Secretary of State                                   G0021453-G0021454
         Commercial Search
         Jason Rogers Williams and Associates, LLC
 3       Louisiana Secretary of State                                   G0110538-G0110554
         Burdett Legal Consulting, LLC
         Articles of Organization
         Initial Report
         Limited Liability Company Annual Report 1/27/2012 –
         1/27/2021

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EXHIBIT DESCRIPTION                                             BATES RANGE
NUMBER
4       Louisiana Secretary of State                            G0021455-G0024156
        Commercial Search
        Burdett Legal Consulting, LLC
5       Jason R. Williams and Elizabeth Marcell Marriage        G0110688-G0110689
        Certificate
6       State of Louisiana                                      G0110690-G0110691
        Certificate of Marriage
        Troy Waguespack and Nicole Burdett
7       Simple Pre-Nuptial Agreement Establishing Separation    G0110692-G0110693
        of Property Regime
        Nicole E. Burdett and Troy Waguespack
8       2000 Tax Year, IRS Account Transcript Form 1040 Tax     G0118553-G0118555
        Period: December 31, 2000; Jason R. Williams
9       2001 Tax Year, IRS Account Transcript Form 1040 Tax     G0118556-G0118559
        Period: December 31, 201; Jason R. Williams
10      2002 Tax Year, IRS Account Transcript Form 1040 Tax     G0118560-G0118564
        Period; December 31, 2002; Jason R. Williams
11      2003 Tax Year, IRS Account Transcript Form 1040 Tax     G0118565-G0118569
        Period: December 31 2003; Jason R. Williams
12      2004 Tax Year, IRS Account Transcript Form 1040 Tax     G0118570-G0118572
        Period; December 31, 2004; Jason R. Williams
13      2005 Tax Year, IRS Account Transcript Form 1040 Tax     G0118573-G0118575
        Period: December 31, 2005; Jason R. Williams
14      2006 Tax Year, IRS Account Transcript Form 1040 Tax     G0118576-G0118579
        Period: December 31, 2006, Jason R. Williams
15      2007 Tax Year, Form 1040X, Amended U.S. Individual      G0110717-G0110741
        Income Tax Return; Jason R. Williams
16      2007 Tax Year, IRS Account Transcript Form 1040 Tax     G0118580-G0118583
        Period: December 31, 2007; Jason R. Williams
17      2008 Tax Year, IRS Account Transcript Form 1040 Tax     G0118593-G0118595
        Period: December 31, 2008; Jason R. Williams, Bridget
        Barthelemy
18      2009 Tax Year, IRS Account Transcript Form 1040 Tax     G0118596-G0118598
        Period: December 31, 2009, Jason R. Williams, Bridget
        Barthelemy
19      2010 Tax Year, IRS Account Transcript Form 1040 Tax     G0118599-G0118601
        Period: December 31, 2010, Jason R. Williams, Bridget
        Barthelemy
20      2011 Tax Year, IRS Account Transcript Form 1040 Tax     G0118602-G0118605
        Period: December 31, 2011, Jason R. Williams, Bridget
        Barthelemy
21      2012 Tax Year, Form 1040, U.S. Individual Income Tax    G0110787-G0110805
        Return, Jason Williams, Bridget Barthelemy


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EXHIBIT DESCRIPTION                                              BATES RANGE
NUMBER
22      2012 Tax Year, IRS Account Transcript Form 1040 Tax      G0118606-G0118608
        Period; December 31, 2012, Jason R. Williams, Bridget
        Barthelemy
23      2012 Tax Year, Centralized Authorization File (CAF) to   G0118747-G0118749
        represent or act on taxpayer’s behalf Jason Rogers
        Williams, Identification Number Query-POA, Nicole E
        Burdett
24      2013 Tax Year, Form 4868, Application for Automatic      G0110421-G0110423
        Extension of Time to File U.S. Individual Income Tax
        Return, Jason Williams
25      2013 Tax Year, Form 1040, U.S. Individual Income Tax     G0110424-G0110435
        Return, Jason Williams and Bridget Barthelemy
26      2013 Tax Year, IRS Account Transcript Form 1040 Tax      G0118609-G0118612
        Period: December 31, 2013, Jason Williams and Bridget
        Barthelemy
27      2014 Tax Year, Form 4868, Application for Automatic      G0110813-G0110815
        Extension of Time to File U.S. Individual Tax Return,
        Jason Williams and Bridget Barthelemy
28      2014 Tax Year, Form 1040, U.S. Individual Income Tax     G0110436-G0110453
        Return, Jason Williams and Bridget Barthelemy
29      2014 Tax Year, IRS Account Transcript Form 1040 Tax      G0118613-G0118615
        Period: December 31, 2014, Jason Williams and Bridget
        Barthelemy
30      2015 Tax Year, Form 1040, U.S. Individual Income Tax     G0110454-G0110465
        Return, Jason R. Williams
31      2015 Tax Year, IRS Account Transcript Form 1040 Tax      G0118584-G0118586
        Period: December 31, 2015, Jason R. Williams
32      2016 Tax Year, Form 1040, U.S. Individual Income Tax     G0110466-G0110481
        Return, Jason R. Williams
33      2016 Tax Year, IRS Account Transcript Form 1040 Tax      G0118587-G0118589
        Period: December 31, 2016, Jason R. Williams
34      2017 Tax Year Form 1040, U.S. Individual Income Tax      G0110482-G0110493
        Return, Jason R. Williams
35      2017 Tax Year, IRS Account Transcript Form 1040 Tax      G0118590-G0118592
        Period. December 31, 2017, Jason R. Williams
36      2018 Tax Year, Form 1040, U.S. Individual Income Tax     G0110494-G0110536
        Return, Jason R. Williams and EA Marcell
37      2018 Tax Year, IRS Account Transcript Form 1040 Tax      G0118616-G0118618
        Period: December 31, 2018, Jason R. Williams and EA
        Marcell
38      2019 Tax Year, Form 1040, U.S. Individual Income Tax     G0110857-G0110909
        Return, Jason Williams and E Marcell Williams



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EXHIBIT DESCRIPTION                                             BATES RANGE
NUMBER
39      2019 Tax Year, IRS Account Transcript Form 1040 Tax     G0118619-G0118621
        Period: December 31, 2019, Jason Williams and E
        Marcell Williams
40      2020 Tax Year, IRS Account Transcript Form 1040 Tax     G0118622-G0118624
        Period: December 31, 2019, Jason Williams and E
        Marcell Williams
41      2009 Tax Year, Account Transcript Form 1040 Tax         G0118625-G0118626
        Period: December 31, 2009, Nicole Burdett
42      2010 Tax Year, Account Transcript Form 1040 Tax         G0118627-G0118629
        Period. December 31, 2010, Nicole E Burdett
43      2011 Tax Year, Account Transcript Form 1040 Tax         G0118630-G0118632
        Period: December 31, 2011, Nicole E Burdett
44      2012 Tax Year, Form 1040X, Amended U.S. Individual      G0110756-G0110769
        Income Tax Return, Nicole E. Burdett
45      2012 Tax Year, Form 1040X, Amended U.S. Individual      G0110783-G0110786
        Income Tax Return, Nicole E. Burdett
46      2012 Tax Year, Account Transcript Form 1040 Tax         G0118633-G0118635
        Period: December 31, 2012, Nicole E Burdett
47      2013 Tax Year, Form 4868, Application for Automatic     G0110171-G0110173
        Extension of Time to File U.S. Individual Income Tax
        Return, Nicole Burdett
48      2013 Tax Year, Form 1040, U.S. Individual Income Tax    G0110174-G0110191
        Return, Nicole E. Burdett
49      2013 Tax Year, IRS Account Transcript Form 1040 Tax     G0118636-G0118638
        Period: December 31, 2013, Nicole E. Burdett
50      2014 Tax Year, Form 1040, U.S. Individual Income Tax    G0110192-G0110212
        Return, Nicole E. Burdett
51      2014 Tax Year, IRS Account Transcript Form 1040 Tax     G0118639-G0118641
        Period: December 31, 2014, Nicole E. Burdett
52      2015 Tax Year, Form 1040, U.S. Individual Income Tax    G0110213-G0110236
        Return, Nicole E. Burdett
53      2015 Tax Year, IRS Account Transcript Form 1040 Tax     G0118642-G0118644
        Period: December 31, 2015, Nicole E. Burdett
54      2016 Tax Year, Form 1040, U.S. Individual Tax Return,   G0110237-G0110252
        Nicole E. Burdett
55      2016 Tax Year, IRS Account Transcript Form 1040 Tax     G0118645-G0118647
        Period: December 31, 2016, Nicole E. Burdett
56      2017 Tax Year, Form 1040, U.S. Individual Income Tax    G0110253-G0110270
        Return, Nicole E. Burdett
57      2017 Tax Year, IRS Account Transcript Form 1040 Tax     G0118648-G0118650
        Period: December 31, 2017, Nicole E. Burdett
58      2018 Tax Year, Form 1040, U.S. Individual Income Tax    G0110390-G0110420
        Return, Troy M. Waguespack and Nicole E. Burdett


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EXHIBIT DESCRIPTION                                            BATES RANGE
NUMBER
59      2018 Tax Year, IRS Account Transcript Form 1040 Tax    G0118679-G0118681
        Period: December 31, 2018, Troy Waguespack and
        Nicole E. Burdett
60      2019 Tax Year, Form 1040, U.S. Individual Income Tax   G0110910-G0110953
        Return, Troy M Waguespack and Nicole E. Burdett
61      2019 Tax Year, IRS Account Transcript Form 1040 Tax    G0118682-G0118684
        Period: December 31, 2019, Troy M Waguespack and
        Nicole Burdett
62      2020 Tax Year, Form 1040, U.S. Individual Income Tax   G0110954-G0110986
        Return, Troy M Waguespack and Nicole E. Burdett
63      2020 Tax Year, IRS Account Transcript Form 1040 Tax    G0118685-G0118687
        Period: December 31, 2020, Troy M Waguespack and
        Nicole Waguespack
64      2009 Tax Year, IRS Account Transcript Form 1040 Tax    G0118651-G0118654
        Period: December 31, 2009, Troy Waguespack
65      2010 Tax Year, IRS Account Transcript Form 1040 Tax    G0118655-G0118657
        Period: December 31, 2010, Troy Waguespack
66      2011 Tax Year, IRS Account Transcript Form 1040 Tax    G0118658-G008660
        Period: December 31, 2011, Troy Waguespack
67      2012 Tax Year, Form 1040X, Amended U.S. Individual     G0110770-G0110782
        Income Tax Return, Troy M Waguespack
68      2012 Tax Year, IRS Account Transcript Form 1040 Tax    G0118661-G0118663
        Period: December 31, 2012, Troy Waguespack
69      2013 Tax Year, Form 1040, U.S. Individual Income Tax   G0110316-G0110332
        Return, Troy M Waguespack
70      2013 Tax Year, IRS Account Transcript Form 1040 Tax    G0118664-G0118666
        Period: December 31, 2013, Troy Waguespack
71      2014 Tax Year, Form 1040, U.S. Individual Income Tax   G0110333-G0110346
        Return, Troy M. Waguespack
72      2014 Tax Year, ARS Account Transcript Form 1040 Tax    G0118667-G0118669
        Period: December 31, 2014, Troy Waguespack
73      2015 Tax Year, Form 1040, U.S. Individual Income Tax   G0110347-G0110359
        Return, Troy M Waguespack
74      2015 Tax Year, IRS Account Transcript Form 1040, Tax   G0118670-G0118672
        Period: December 31, 2015, Troy M Waguespack
75      2016 Tax Year, Form 1040, U.S. Individual Income Tax   G0110360-G0110376
        Return, Troy M Waguespack
76      2016 Tax Year, IRS Account Transcript form 1040, Tax   G0118673-G0118675
        Period: December 31, 2016, Troy M Waguespack
77      2017 Tax Year, Form 1040, U.S. Individual Income Tax   G0110377-G0110389
        Return, Troy M Waguespack
78      2017 Tax Year, IRS Account Transcript Form 1040 Tax    G0118676-G0118678
        Period: December 31, 2017, Troy Waguespack


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EXHIBIT DESCRIPTION                                                BATES RANGE
NUMBER
79      2016 Tax Year, Form 1040, U.S. Individual Income Tax       G0110271-G0110284
        Return, Elizabeth A. Marcell
80      2016 Tax Year, IRS Account Form 1040 Tax Period:           G0118484-G0118486
        December31, 2016, Elizabeth A Marcell
81      2017 Tax Year, Form 1040, U.S. Individual Income Tax       G0110285-G0110295
        Return, Elizabeth A Marcell
82      2017 Tax Year, IRS Account Transcript Form 1030 Tax        G0118487-G0118489
        Period: December 31, 2017, Elizabeth A Marcell
83      2018 Tax Year Form 1040, U.S. Individual Income Tax        G0110296-G0110315
        Return, Janice E Rogers
84      2001 Tax Year, Correspondence Imaging System Form          G0110694-G0110697
        843, Claim for Refund and Request for Abatement,
        Jason R Williams
85      2002 Tax Year, Correspondence Imaging System Form          G0110698-G0110703
        843, Claim for Refund and Request for Abatement,
        Jason R Williams
86      2003 Tax Year, Correspondence Imaging System Form          G0110704-G0110710
        843, Claim for Refund and Request for Abatement,
        Jason R Williams
87      2005-2008 Tax Years, Account Management Services           G0110987-G0111000
        System-call in transcript log, Jason R Williams and E.A.
        Marcell
88      2006 Tax Year, Correspondence Imaging System Form          G0110711-G0110716
        843, Claim for Refund and Request for Abatement,
        Jason R Williams
89      2007 Tax Year, Correspondence Imaging System Form          G0110742-G0110747
        843, Claim for Refund and Request for Abatement,
        Jason R Williams
90      October 30, 2007, Letter 3172, Notice of Federal Tax       G0110748-G0110751
        Lien Filing and Your Right to a Hearing Under IRC
        3172, Jason Rogers Williams
91      March 10, 2011, Letter 3172, Notice of Federal Tax Lien    G0110752-G0110755
        Filing and Your Right to a Hearing Under IRC 6320,
        Jason Rogers Williams
92      2013 Tax Year, Centralized Authorization File (CAF)        G0110806-G0110807
        Identification Number Query – BGibbens POA, Jason R
        Williams and EA Marcell
93      2014 Tax Year, Centralized Authorization File (CAF)        G0110811-G0110812
        Identification Number Query – POA BGibbens, Jason R
        Williams and EA Marcell
94      2015 Tax Year, Centralized Authorization File (CAF)        G0110816-G0110817
        Identification Number Query – POA BGibbens, Jason R
        Williams and EA Marcell


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EXHIBIT DESCRIPTION                                               BATES RANGE
NUMBER
95      2016 Tax Year, Centralized Authorization File (CAF)       G0110820-G0110821
        Identification Number Query – POA BGibbens, Jason R
        Williams and EA Marcell
96      2016 Tax Year Form 4868, Application Automatic            G0110822-G0110823
        Extension of Time to File U.S. Individual Income Tax
        Return, Jason Rogers Williams
97      2017 Tax Year, Centralized Authorization File (CAF)       G0110826-G0110827
        Identification Number Query-POA BGibbens, Jason R
        Williams and EA Marcell
98      2017 Tax Year, Form 4868, Application Automatic           G0110828-G0110830
        Extension of Time to File U.S. Individual Income Tax
        Return, Jason Rogers Williams
99      November 13, 2017, Notice CP2000, Changes to your         G0110833-G0110843
        2015 Form 1040, Proposed amount due $14,640, Jason R
        Williams
100     February 5, 2018, Notice CP3219A, Notice of               G0110846-G0110856
        Deficiency, Proposed increase in tax and notice of your
        right to challenge, Jason R Williams
101     2016 & 2017 Tax Year, Form 4868, Application for          G0110818-G0110819
        Automatic Extension of Time to File U.S. Individua
        Income Tax Return, Nicole E. Burdett
102     2018 Tax Year, Form 4868, Application Automatic           G0110844-G0110845
        Extension of Time to File U.S. Individual Income Tax
        Return, Troy M Waguespack and Nicole E Burdett
103     2013 Tax Year, Form 4868, Application for Automatic       G0110808-G0110810
        Extension of Time to File U.S. Individual Income Tax
        Return, Troy Waguespack
104     2016 Tax Year, Form 4868 Application Automatic            G0110824-G0110825
        Extension of Time to File U.S. Individual Income Tax
        Return, Troy Waguespack
105     2017 Tax Year, Form 4868, Application Automatic           G0110831-G0110832
        Extension of Time to File U.S. Individual Income Tax
        Return, Troy Waguespack
106     Jason Rogers Williams & Associates, LLC                   G0000717-G0000719
        Profit & Loss
        January through December 2013
        Williams_000001-Williams_000003
107     JRW and Assoc 2013                                        G0000720-G0000780
        Profit & Loss Detail
        January through December 2013
        Williams_000004- Williams_000064
108     Jason Rogers Williams & Associates, LLC                   G0001020-G0001022
        Profit & Loss
        January through December 2014

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EXHIBIT DESCRIPTION                                       BATES RANGE
NUMBER
        Williams_000304- Williams_000306
109     JRW and Assoc 2014                                G0001023-G0001076
        Profit & Loss Detail
        January through December 2014
        Williams_000304- Williams_000360
110     Jason Rogers Williams & Associates, LLC           G0001126-G0001128
        Profit & Loss
        January through December 2015
        Williams_000410- Williams_000412
111     JRW and Assoc 2015                                G0001129-G0001180
        Profit & Loss Detail
        January through December 2015
        Williams_000413- Williams_000464
112     Jason Rogers Williams & Associates, LLC           G0001241-G0001243
        Profit & Loss
        January through December 2016
        Williams_000525- Williams_000527
113     JRW and Assoc 2016                                G0001248-G0001292
        Profit & Loss Detail
        January through December 2016
        Williams_000532- Williams_000576
114     Jason Rogers Williams & Associates, LLC           G0001372-G0001374
        Profit & Loss
        January through December 2017
        Williams_000656-000658
115     JRW and Assoc 2017                                G0001375-G0001440
        Profit & Loss Detail
        January through December 2017
        Williams_001375- Williams_001440
116     1040X Amended U.S. Individual Income Tax Return   G0043002-G0043003
        Jason R Williams
        Williams_008911-Williams_008912
117     1040X Amended U.S. Individual Income Tax Return   G0044478-G004486
        2008
        Jason R Williams
        Bridget Barthelemy
        Williams_010387-Williams_010395
118     Jason R Williams                                  G0000959
        Interim Profit and Loss Statement
        As of August 30, 2015
        Year End Projection
        as of December 31, 2015
        Williams_000243
119     Jason R Williams                                  G0000936

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EXHIBIT DESCRIPTION                                           BATES RANGE
NUMBER
        Interim Profit and Loss Statement
        As of September 30, 2105
        Williams_000220
120     Email from Susan Spiess to Henry Timothy, Subject:    G0000937
        Williams – ltr re Interim Profit and Loss Statement
        Williams_000221
121     Form 1040 2014 U.S. Income Tax Return                 G0000913-G0000928
        Jason R. Williams
        Bridget Barthelemy
        Williams_000197—Williams_000212
122     Form 1040 2014 U.S. Individual Income Tax Return      G0000883-G0000896
        Jason R. Williams
        Bridget Barthelemy
        Williams_000167-Williams_000180
123     Form 1040 2014 U.S. Individual Income Tax Return      G0000963-G0000975
        Jason R Williams
        Bridget Barthelemy
        Williams_000247-Williams_000259
124     Email from JRWLawFirm dated Apr 15, 2015              G0000984-G0000987
        Turbo Tax Easy Extension Request Accepted by IRS
        Williams_000268-Williams_000271
125     2015 W-2                                              G0001103
        Janice E. Rogers
        Williams_000387
126     Henry Timothy – CPA                                   G0044869
        Invoice to Jason Rogers Williams & Associates
        03/28/13
127     Henry Timothy – CPA                                   G0044870
        Invoice to Jason Rogers Williams & Associates
        10/15/14
128     Henry Timothy – CPA                                   G0044871
        Invoice to Jason Rogers Williams & Associates
        10/17/16
129     Henry Timothy – CPA                                   G0044872
        Invoice to Jason Rogers Williams & Associates
        05/15/18
130     B&B Accounting Services                               G0001361
        Invoice #051518-001
        June 14, 2018
        Jason R. Williams
        Williams_000645
131     Email From Nicole Burdett to Lisa Westmoland          G0001204
        Date: July 9, 2018
        Subject 2015 UW Taxes

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EXHIBIT DESCRIPTION                                               BATES RANGE
NUMBER
        Williams_000488
132     Northwestern Mutual Life Insurance                        G0035114-G0035116
        Payment Information Notice
        Life Insurance Annual Policy Statements for Jason
        Williams, Bridget Barthelemy, G. Williams and Z.
        Williams
133     Escrow Agreement                                          G0004499
        Re 2500 Marengo St, New Orleans
        Sale, tax liens paid
134     Standard Residential Lease Agreement                      G0009464-G0009470
        October 20, 2014
        Rosary O’Neill Harzinski
        524 St. Philip Unit St., New Orleans, LA
135     B&B Accounting Services                                   G0044109
        Henry Timothy – PA
        Reduced liability, 2003 to 2009
136     Office Lease Agreement                                    G0003906-G0003914
        Between Avenue Advocates, LLC and Jason R. Williams
        & Associates
137     2013 General Ledger created by JRW Quickbooks             G0035549-G0035917
138     2013 General Ledger modified by SA Timothy Moore          G0000352-G0000464
139     2014 General Ledger created by JRW Quickbooks             G0035918-G0036241
140     2014 General Ledger modified by SA Timothy Moore          G0000465-G0000535
141     2015 General Ledger created by JRW Quickbooks             G0036242-G0036547
142     2015 General Ledger modified by SA Timothy Moore          G0000536-G0000603
143     2016 General Ledger created by JRW Quickbooks             G0036548-G0036811
144     2016 General Ledger modified by SA Timothy Moore          G0000604-G0000661
145     2017 General Ledger created by JRW Quickbooks             G0036812-G0037069
146     2017 General Ledger modified by SA Timothy Moore          G0000662-G0000716
147     Louisiana Board of Ethics                                 G0014894-G0014899
        Tier 2 Personal Financial Disclosure Statement (Annual)
        2014 Jason Rogers Williams
        Councilman at Large, City of New Orleans
148     Tulane University                                         G0021404-G0021405
        Official Transcript of Academic Record
        Jason Rogers Williams
149     Tulane University                                         G0118470
        2LAW 2530 Income Taxation (3)
        Course Description
150     Tulane University 902 Certification and record            G0118471-G0118483
        production
151     Email to Nicole Burdett                                   G0044881-G0044896
        From Henry Timothy
        Sent: Wednesday, October 29, 2014 10:58 AM

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EXHIBIT DESCRIPTION                                             BATES RANGE
NUMBER
        Attachments: Scan0181.pdf
        Invoice for 2013, tax return and work sheet
        CPA invoice 10/15/14- p1-2
        Worksheet 2013-p12-16
        JRWs 2013 1040
152     Email from Henry Timothy                                G0044897-G0044898
        To Nicole Burdett
        Sent: Friday, September 25, 2015 7:05 pm
        Attachments: Scan 0308.pdf
        Interim Profit and Loss Statement for 2015
153     Email from Henry Timothy                                G0044900-G0044901
        To Nicole Burdett
        Sent: Wednesday, November 4, 2015 11:29 am
        Attachment: Scan 0319.pdf
        Jason R. Williams
        Interim Profit and Loss Statement as of September 30,
        2015
154     Email from Henry Timothy                                G0044899,
        To Nicole Burdett                                       G0044902-G0044904
        Sent: Friday June 9, 2017 2:10 pm
        Attachment: Scan1024.pdf
        To Nicole; From Bubby 6/08/17- listing refunds for
        Bobby Hjortsberg, Troy Waguespack, Taylor
        Waguespack, Nicole Burdett, Jacob Herrington, John
        Bowker, Jason Williams; vouchers attached
155     Email from Henry Timothy                                G0044905-G0044918
        To Nicole Burdett
        Sent: Wednesday June 21, 2017 2:27 pm
        Attachments: Scan1044.pdf
        Form 1040, 2016 U.S. Individual Income Tax Return of
        Nicole Burdett, with worksheet
156     Email from Henry Timothy                                G0044919-G0044931
        To Nicole Burdett
        Sent: Wednesday, June 21, 2017 3:26 pm
        Attachments: Scan1045.pdf
        Form 1040, 2016 U.S. Individual Income Tax Return of
        Troy M Waguespack
157     Email from Nicole Burdett                               G0044935-G0044936
        To: Henry Timothy
        Sent: Thursday January 19, 2017 9:39 am
        Subject: Taxes – 2016-1099.xlsx
        Attachments: Taxes – 2016 – 1099.xlsx
158     Email from Henry Timothy to Nicole Burdett              G0044963-G0044969
        Sent: August 23, 2018 8:47 am

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EXHIBIT DESCRIPTION                                           BATES RANGE
NUMBER
        Attachments: Scan1419.pdf
        Re 2018 Estimated Taxes for Nicole E Burdett
159     Email from Nicole Burdett to Henry Timothy            G0044974-G0044975
        Sent: Tuesday January 8, 2019 8:22 am
        Subject: 1099 for JRW and Associates 2018
        Attachments: Taxes – 2018 – 1099.pdf
160     Form 8879 2015                                        G0059729
        IRS e-file Signature Authorization
        Jason R. Williams
161     Form 8879 2015                                        G0059730
        IRS e-file Signature Authorization
        Nicole E Burdett
162     Form 8879 2016                                        G0059733
        IRS e-file Signature Authorization
        Nicole E. Burdett
163     Form 8879 2016                                        G0059734
        IRS e-file Signature Authorization
        Jason R Williams
164     Form 8879 2017                                        G0059735
        IRS e-file Signature Authorization
        Jason R. Williams
165     Form 8879 2017                                        G0059736
        IRS e-file Signature Authorization
        Nicole E. Burdett
166     Totals Report                                         G0044729-G0044734
        04/26/2019
        Jason Rogers Williams Attorney At Law
        1099-MISC (2014)
167     Worksheet 2014                                        G0044752-G0044755
        Jason R. Williams & Bridget Barthelemy
        Additional information from your 2014 Federal Tax
        Return
        Schedule C (Attorney): Profit or Loss from Business
168     Totals Report                                         G0044756-G0044761
        04/26/2019
        Jason Rogers Williams Attorney At Law
        1099-MISC (2015)
169     Worksheet 2015                                        G0044776-G0044779
        Jason R Williams
        Additional Information from your 2015 Federal Tax
        Return
        Schedule C (Attorney): Profit or Loss from Business
170     Worksheet 2013                                        G0044818-G0044822
        Jason R Williams & Bridget Barthelemy

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EXHIBIT DESCRIPTION                                               BATES RANGE
NUMBER
        Additional information from your 2013 Federal Tax
        Return
        Schedule C(Attorney): Profit or Loss from Business
171     Totals Report                                             G0044823-G0044826
        04/26/2019
        Jason Rogers Williams & Associates LLC
        1099-MISC (2017)
172     Jason R Williams                                          G0044840-G0044843
        Additional information from your 2017 Federal Tax
        Return
        Schedule C (Attorney: Legal Fees): Profile or Loss from
        Business
173     Totals Report                                             G0044844-G0044847
        04/26/2019
        Jason Rogers Williams & Associates LLC
        1099-MISC (2016)
174     Jason R Williams                                          G0044865-G0044868
        Additional information from your 2016 Federal Tax
        Return
        Schedule C (Attorney : Legal Fees): Profit or Loss from
        Business
175     Email from Kevin Conley to Jason Williams                 G0046944-G0046945
        Date February 05, 219
        Subject SECURE Cash flow analysis for St. Charles
        home… Please call if any questions and keep me posted!
        - Kevin
176     Email between Liz and Kevin Conley                        G0047243-G0047245
        Date 12/10/2019; Jan 15, 2019
        Zimbra: Re: Preliminary thoughts on purchasing a
        home
177     DoubleDay Conley LLC                                      G0047743-G0047744
        Meeting Agenda for
        Jason Williams and Liz Marcell
        06/20/2019
178     Email from Kevin Conley to Nicole Burdett-                G0086912
        Waguespack
        Date Dec 10, 2018
        Thoughts on hiring a CPA
179     Email from Nicole Burdett-Waguespack to Kevin             G0106687-G0106690
        Conley
        Date Nov 26, 2018
        Subject Re: SECURE RE: Update
180     Email from Kevin Conley to Robert Hienz                   G0106692-G0106694
        Date Dec 14, 2018

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EXHIBIT DESCRIPTION                                       BATES RANGE
NUMBER
        Subject SECURE Tax returns and info for Nicole
        Burdett and Troy Waguespack
181     DoubleDay Conley Application                      G0118456-G0118469
182     Cox Communications                                G0106973-G0106981
        Customer Ledger
        Nicole Burdett
        Hooper Dr
        Statement Date 5/09/13 – 4/08/18
183     Entergy Service, Inc.                             G0107144-G0107161
        Nicole E Burdett
        Hooper Dr., Kenner
        Monthly Statements January 2014 – December 2014
184     Entergy Service, Inc.                             G0107162-G0107185
        Nicole E Burdett
        Hooper Dr., Kenner
        Monthly Statements January 2015 – December 2015
185     Entergy Service, Inc.                             G0107186-G0107209
        Nicole E Burdett
        Hooper Dr., Kenner
        Monthly Statements January 2016 – December 2016
186     Entergy Service, Inc.                             G0107210-G0107233
        Nicole E Burdett
        Hooper Dr., Kenner
        Monthly Statements January 2017 – December 2017
187     Northwestern Mutual                               G0107492-G0107493
        Life Insurance Annual Policy Statement
        Insured Nicole Burdett
        Policy Number 19306904
        Policy Date January 31, 2011
        Assumes Premiums Paid to January 31, 2014
188     Northwestern Mutual                               G0107494-G0107495
        Life Insurance Annual Policy Statement
        Insured Nicole Burdett
        Policy Number 19306904
        Policy Date January 31, 2011
        Assumes Premiums Paid to January 31, 2015
189     Northwestern Mutual                               G0107496-G0107499
        Life Insurance Annual Policy Statement
        Insured Nicole Burdett
        Policy Number 19306904
        Policy Date January 31, 2011
        Assumes Premiums Paid to January 31, 2016
190     Northwestern Mutual                               G0107500-G0107505
        Life Insurance Annual Policy Statement

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EXHIBIT DESCRIPTION                                      BATES RANGE
NUMBER
        Insured Nicole Burdett
        Policy Number 19306904
        Policy Date January 31, 2011
        Assumes Premiums Paid to January 31, 2017
191     Northwestern Mutual                              G0107506-G0107511
        Life Insurance Annual Policy Statement
        Insured Nicole Burdett
        Policy Number 19306904
        Policy Date January 31, 2011
        Assumes Premiums Paid to January 31, 2018
192     Northwestern Mutual                              G0107659-G0107660
        Life Insurance Annual Policy Statement
        Insured H. Burdett
        Policy Number 19306971
        Policy Date January 27, 2013
193     Northwestern Mutual                              G0107661-G0107662
        Life Insurance Annual Policy Statement
        Insured H. Burdett
        Policy Number 19306971
        Policy Date January 27, 2014
194     Northwestern Mutual                              G0107663-G0107664
        Life Insurance Annual Policy Statement
        Insured H. Burdett
        Policy Number 19306971
        Policy Date January 27, 2015
195     Northwestern Mutual                              G0107665-G0107668
        Life Insurance Annual Policy Statement
        Insured H. Burdett
        Policy Number 19306971
        Policy Date January 27, 2016
196     Northwestern Mutual                              G0107669-G0107674
        Life Insurance Annual Policy Statement
        Insured H. Burdett
        Policy Number 19306971
        Policy Date January 27, 2017
197     The Northwestern Mutual Life Insurance Company   G0107710-G0107711
        Life Insurance Annual Policy Statement
        Policy Number 20771982
        Insured P Burdett Waguespack
        Policy Date May 27, 2014
        Assumes Premiums Paid to May 27, 2015
198     The Northwestern Mutual Life Insurance Company   G0107712-G0107715
        Life Insurance Annual Policy Statement
        Policy Number 20771982

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EXHIBIT DESCRIPTION                                      BATES RANGE
NUMBER
        Insured P Burdett Waguespack
        Policy Date May 27, 2014
        Assumes Premiums Paid to May 27, 2016
199     The Northwestern Mutual Life Insurance Company   G0107716-G0107721
        Life Insurance Annual Policy Statement
        Policy Number 20771982
        Insured P Burdett Waguespack
        Policy Date May 27, 2014
        Assumes Premiums Paid to May 27, 2017
200     The Northwestern Mutual Life Insurance Company   G0107722-G0107727
        Life Insurance Annual Policy Statement
        Policy Number 20771982
        Insured P Burdett Waguespack
        Policy Date May 27, 2014
        Assumes Premiums Paid to May 27, 2018
201     The Northwestern Mutual Life Insurance Company   G0107943-G0107944
        Life Insurance Annual Policy Statement
        Policy Number 19306887
        Insured Troy Waguespack
        Policy Date January 31, 2011
        Assumes Premiums Paid to January 31, 2014
202     The Northwestern Mutual Life Insurance Company   G0107945-G0107946
        Life Insurance Annual Policy Statement
        Policy Number 19306887
        Insured Troy Waguespack
        Policy Date January 31, 2011
        Assumes Premiums Paid to January 31, 2015
203     The Northwestern Mutual Life Insurance Company   G0107947-G0107950
        Life Insurance Annual Policy Statement
        Policy Number 19306887
        Insured Troy Waguespack
        Policy Date January 31, 2011
        Assumes Premiums Paid to January 31, 2016
204     The Northwestern Mutual Life Insurance Company   G0107951-G0107956
        Life Insurance Annual Policy Statement
        Policy Number 19306887
        Insured Troy Waguespack
        Policy Date January 31, 2011
        Assumes Premiums Paid to January 31, 2017
205     The Northwestern Mutual Life Insurance Company   G0107957-G0107962
        Life Insurance Annual Policy Statement
        Policy Number 19306887
        Insured Troy Waguespack
        Policy Date January 31, 2011

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EXHIBIT DESCRIPTION                                                BATES RANGE
NUMBER
        Assumes Premiums Paid to January 31, 2018
206     Northwestern Mutual                                        G0108211-G0108227
        Insurance Service Account History
        Payer Nicole Burdett
        Date January 28, 2013 – June 4, 2019
        Policies: 19306887, 1936904, 19306920, 19306937,
        19306971, 20771982, 21083594, 22121710
207     JPMorgan Chase Bank N.A., Account number ending            G0026060-G0026069
        0359 assigned to Jason Rogers Williams and Associates,
        LLC
        Bank statement August 1, 2013 through August 30, 2013
208     Jason Rogers Williams & Associates, LLC, Chase Bank,       G0025914
        Check No. 1847 issued to Michael Foster, dated
        5/30/2013 in the amount of $2,500.00, Memo General
        Pershing
209     Robert Hjortsberg Whitney National Bank check no.          G0026808-G0026809
        1665 dated 6/25/14 issued to Jason Williams &
        Associates in the amount of $7,000.00
        Deposited into Jason Rogers Williams & Associates
        JPMorgan Chase Bank account ending in 0359, Memo
        Loan
        Jason Rogers Williams & Associates, LLC Chase Bank         G0027598
210     ending in 0359, check no. 2404 dated 11/18/2015 issued
        to John Bel Edwards Campaign in the amount of
        $2,000.00, Memo Gov Contribution
211     Jason Rogers Williams & Associates, LLC Chase Bank         G0028067
        ending in 0359, check no. 2539 dated 12/9/2016 issued
        to Elizabeth Marcell in the amount of $1,700.00, Memo
        December Rental Expense
212     Jason Rogers Williams & Associates, LLC Chase Bank         G0028149
        ending in 0359, check no. 2569 dated 1/30/2017 issued
        to Elizabeth Marcell in the amount of $1,700.00; Memo
        Feb Rental Expenses
213     Jason Rogers Williams & Associates, LLC Chase Bank         G0028195
        ending in 0359, check no. 2591 dated 3/1/2017 issued to
        Elizabeth Marcell in the amount of $1,700.00, Memo
        Rent
214     Jason Rogers Williams & Associates, LLC Chase Bank         G0028240
        ending in 0359, check no. 2605 dated 4/1/2017 issued to
        Elizabeth Marcell in the amount of $1,700.00, Memo
        Rent - April
215     Jason Rogers Williams & Associates, LLC Chase Bank         G0028473
        ending in 0359, check no. 2683 dated 9/5//2017 issued to
        Elizabeth Marcell in the amount of $2,000.00

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EXHIBIT DESCRIPTION                                                BATES RANGE
NUMBER
216     Ferrellgas Invoice                                         G0107316
        Date February 22, 2017
        Sold to Nicole Burdett-house
        Hooper Dr.
217     Ferrellgas Invoice                                         G0107317
        Date June 7, 2017
        Sold to Nicole Burdett-house
        Hooper Dr.
218     Ferrellgas Invoice                                         G0107318
        Date October 3, 2017
        Sold to Nicole Burdett-house
        Hooper Dr.
219     Ferrellgas Invoice                                         G0107319
        Date February 22, 2007
        Sold to Nicole Burdett-house
        Hooper Dr.
220     Jason Rogers Williams & Associates law Firm                G0081405-G0081416
        Website print 2020
221     Photograph of Henry Timothy’s residence                    G0111716
        (close up)
222     Photograph of Henry Timothy’s residence                    G0111717
        (from road)
223     Photograph – First Day                                     G0111720
        District Attorney
224     Photograph                                                 G0111722
        District Attorney at desk; Burdett standing at side
225     Photograph                                                 G0111724
        Grinding on the campaign trail
226     Photograph                                                 G0111731
        Burdett Pool
227     Photograph                                                 G0126194
        Burdett Pool
228     Photograph                                                 G0111751
        The Charles House
229     Photograph                                                 G0111759
        Williams Residence
230     Photograph                                                 G0111761
        Williams Residence
231     Jason Williams Associates                                  G0126159
        Website Print 2021
232     U.S. v. Henry J. Timothy, Criminal No. 20-99; filed Plea   G0118703-G0118717
        Agreement with Attachment A
233     U.S. v. Robert Hjortsberg, Criminal No. 21-9; filed Plea   G0118441-G0118454
        Agreement with Attachment A

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EXHIBIT DESCRIPTION                                             BATES RANGE
NUMBER
234     IRS Form 8300 Report of Cash Payments Over $10,000      G0111789-G0111795
        Received in a Trade or Business, date 04/26/2010,
        amount $16,000.00 from Nicole Burdett
235     Uniform Residential Loan Application, Borrower Nicole   G0111894-G0111902
        Elizabeth Burdett, Property Hooper Drive, Kenner, LA,
        Date 4/26/10
236     Pro Forma Settlement Statement (HUD-1)                  G0111921-G0111923
        Loan No. ending 2003
        Borrower: Nicole Elizabeth Burdett, Property: Hooper
        Drive, Kenner, Louisiana; Date Apr 26, 2010
237     Liberty Bank                                            G0031561-G0031564
        Commercial Lines of Credit 54184
        8/28/2019
        Jason Rogers Williams and Associates, LLC
238     Liberty Bank & Trust Company                            G0031896
        Draw Request
        Date 5/19/2014
        Jason Rogers Williams & Associates
        Draw Amount $7,500
239     Liberty Bank & Trust Company                            G0031907
        Draw Request
        Date 4/30/2014
        Jason Rogers Williams & Associates
        Draw Amount $8,000
240     Liberty Bank & Trust Company                            G0031911
        Draw Request
        Date 4/16/2014
        Jason Rogers Williams & Associates
        Draw Amount $7,500
241     Liberty Bank & Trust Company                            G0031960
        Draw Request
        Date May 7, 2014
        Jason Rogers Williams & Associates
        Draw Amount $5,000
242     Liberty Bank & Trust Company                            G0032165-G0032167
        Memorandum
        Date: 1/26/15
        To: Credit File
        From: Ronald Carrere, Jr.
        Subject: Jason R. Williams Notes#541184
243     Liberty Bank & Trust Company                            G0032168-G0032170
        LaserPro Document Request
        Business Purpose Loan
        Date: 03/09/2015

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EXHIBIT DESCRIPTION                                           BATES RANGE
NUMBER
        Renewal of Note No. 54184
        Borrower: Jason Rogers Williams and Associates, LLC
244     Liberty Bank & Trust Company                          G0032341-G0032342
        Commercial Loan – Lines of Credit
        Note 54184 – Jason Rogers Williams
        03/10/205
245     Liberty Bank & Trust Company                          G0032346
        Email from Ronald Carrere to Irene Tate-Warner
        Date: March 09, 2015
        Subject: Jason Williams - Renewal
246     Handwritten note of Nicole Burdett for 2014 Burdett   G0086110
        Legal taxes
247     Burdett Legal Consulting LLC                          G0086111-G0086112
        Profit & Loss
        January through December 2014
248     Burdett Legal Consulting LLC                          G0086113-G0086115
        Transaction Detail by Account
        January through December 2014
249     Burdett                                               G0086156-G0086157
        Household
        Profit & Loss
        January through December 2014
250     Burdett                                               G0086158-G0086174
        Southwest Rapid Rewards
        2014 Annual Spending Summary
251     Handwritten note of Nicole Burdett for 2015 Burdett   G0086184
        Legal taxes
252     Burdett Legal Consulting LLC 2016                     G0086202-G0086203
        Profit & Loss
        January through December 2015
253     Burdett Legal Consulting LLC 2016                     G0086204-G0086240
        Profit & Loss Detail
        January through December 2015
254     Burdett                                               G0086305-G0086315
        Southwest Rapid Rewards
        2015 Annual Spending Summary
255     Handwritten note of Nicole Burdett for 2016 Burdett   G0086317
        Legal taxes
256     Burdett Legal Consulting LLC                          G0086350-G0086351
        Profit & Loss
        January through December 2016
257     Burdett                                               G0086352-G0086359
        Southwest Rapid Rewards                               G0086360-G0086361
        2016 Annual Spending Summary

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EXHIBIT DESCRIPTION                                             BATES RANGE
NUMBER
258     Burdett Legal Consulting LLC                            G0086362-G0086412
        Profit & Loss Detail
        January through December 2016
259     Handwritten note of Nicole Burdett for 2017 Burdett     G0086435
        Legal taxes
260     B&B Accounting Services                                 G0086438-G0086440
        Invoices dated June 14, 2018 to
        Nicole E. Burdett (Invoice # 051518-004);
        Taylor C. Waguespack (Invoice # 051518-003);
        Troy M. Waguespack (Invoice #051518-002)
261     Burdett Legal Consulting LLC                            G0086453-G0086454
        Profit & Loss
        January through December 2017
262     Burdett Legal Consulting, LLC                           G0086455-G0086505
        Profit & Loss Detail
        January through December 2017
263     Burdett                                                 G0086506-G0086519
        Southwest Rapid Rewards
        2017 Annual Spending Summary
264     Regions Financial Corp                                  G0088320-G0088331
        User Friendly History Card
        Account ending 1812
        Nicole E Burdett
265     JPMorgan Chase Bank, N.A. Account Ending 5770           G0088716-G0088725
        Burdett Legal Consulting LLC
        January 01, 2014 through January 31, 2014 Statement
266     JPMorgan Chase Bank, N.A. Account Ending 5770           G0088726-G0088736
        Burdett Legal Consulting LLC
        February 01, 2014 through February 28, 2014 Statement
267     JPMorgan Chase Bank, N.A. Account Ending 5770           G0088737-G0088744
        Burdett Legal Consulting LLC
        March 01, 2014 through March 31, 2014 Statement
268     JPMorgan Chase Bank, N.A. Account Ending 5770           G0088745-G0088752
        Burdett Legal Consulting LLC
        April 01, 2014 through April 30, 2014 Statement
269     JPMorgan Chase Bank, N.A. Account Ending 5770           G0088753-G0088769
        Burdett Legal Consulting LLC
        May 01, 2014 through May 30, 2014 Statement
270     JPMorgan Chase Bank, N.A. Account Ending 5770           G0088770-G0088789
        Burdett Legal Consulting LLC
        May 31, 2014 through June 30, 2014 Statement
271     JPMorgan Chase Bank, N.A. Account Ending 5770           G0088790-G0088805
        Burdett Legal Consulting LLC
        July 01, 2014 through July 31, 2014 Statement

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EXHIBIT DESCRIPTION                                            BATES RANGE
NUMBER
272     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088806-G0088822
        Burdett Legal Consulting LLC
        August 01, 2014 through August 29, 2014 Statement
273     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088823-G0088845
        Burdett Legal Consulting LLC
        August 30, 2014 through September 30, 2014 Statement
274     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088846-G0088866
        Burdett Legal Consulting LLC
        October 01, 2014 through October 31, 2014 Statement
275     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088867-G0088882
        Burdett Legal Consulting LLC
        November 01, 2014 through November 28, 2014
        Statement
276     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088883-G0088897
        Burdett Legal Consulting LLC
        November 29, 2014 through December 31, 2014
        Statement
277     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088898-G0088908
        Burdett Legal Consulting LLC
        January 01, 2015 through January 30, 2015 Statement
278     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088909-G0088922
        Burdett Legal Consulting LLC
        January 31, 2015 through February 27, 2015 Statement
279     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088923-G0088936
        Burdett Legal Consulting LLC
        February 28, 2015 through March 31, 2015 Statement
280     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088937-G0088963
        Burdett Legal Consulting LLC
        April 01, 2015 through April 30, 2015 Statement
281     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088964-G0088983
        Burdett Legal Consulting LLC
        May 01, 2015 through May 29, 2015 Statement
282     JPMorgan Chase Bank, N.A. Account Ending 5770          G0088984-G0089000
        Burdett Legal Consulting LLC
        May 30, 2015 through June 30, 2015 Statement
283     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089001-G0089016
        Burdett Legal Consulting LLC
        July 01, 2015 through July 31, 2015 Statement
284     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089017-G0089036
        Burdett Legal Consulting LLC
        August 01, 2015 through August 31, 2015 Statement
285     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089037-G0089062
        Burdett Legal Consulting LLC


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EXHIBIT DESCRIPTION                                            BATES RANGE
NUMBER
        September 01, 2015 through September 30, 2015
        Statement
286     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089063-G0089084
        Burdett Legal Consulting LLC
        October 01, 2015 through October 30, 2015 Statement
287     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089085-G0089100
        Burdett Legal Consulting LLC
        October 31, 2015 through November 30, 2015 Statement
288     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089101-G0089118
        Burdett Legal Consulting LLC
        December 01, 2015 through December 31, 2015
        Statement
289     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089119-G0089138
        Burdett Legal Consulting LLC
        January 01, 2016 through January 29, 2016 Statement
290     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089139-G0089150
        Burdett Legal Consulting LLC
        January 30, 2016 through February 29, 2016 Statement
291     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089151-G0089163
        Burdett Legal Consulting LLC
        March 01, 2016 through March 31, 2016 Statement
292     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089164-G0089176
        Burdett Legal Consulting LLC
        April 01, 2016 through April 29, 2016 Statement
293     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089177-G0089192
        Burdett Legal Consulting LLC
        April 30, 2016 through May 31, 2016 Statement
294     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089193-G0089205
        Burdett Legal Consulting LLC
        June 01, 2016 through June 30, 2016 Statement
295     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089206-G0089226
        Burdett Legal Consulting LLC
        July 01, 2016 through July 29, 2016 Statement
296     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089227-G0089243
        Burdett Legal Consulting LLC
        July 30, 2016 through August 31, 2016 Statement
297     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089244-G0089252
        Burdett Legal Consulting LLC
        September 01, 2016 through September 30, 2016
        Statement
298     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089253-G0089259
        Burdett Legal Consulting LLC
        October 01, 2016 through October 31, 2016 Statement
299     JPMorgan Chase Bank, N.A. Account Ending 5770          G0089260-G0089268

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EXHIBIT DESCRIPTION                                             BATES RANGE
NUMBER
        Burdett Legal Consulting LLC
        November 01, 2016 through November 30, 2016
        Statement
300     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089269-G0089285
        Burdett Legal Consulting LLC
        December 01, 2016 through December 30, 2016
        Statement
301     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089286-G0089308
        Burdett Legal Consulting LLC
        December 31, 2016 through January 31, 2017 Statement
302     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089309-G0089319
        Burdett Legal Consulting LLC
        February 01, 2017 through February 28, 2017 Statement
303     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089320-G0089325
        Burdett Legal Consulting LLC
        March 01, 2017 through March 31, 2017 Statement
304     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089326-G0089331
        Burdett Legal Consulting LLC
        April 01, 2017 through April 28, 2017 Statement
305     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089332-G0089337
        Burdett Legal Consulting LLC
        April 29, 2017 through May 31, 2017 Statement
306     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089338-G0089353
        Burdett Legal Consulting LLC
        June 01, 2017 through June 30, 2017 Statement
307     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089354-G0089361
        Burdett Legal Consulting LLC
        July 01, 2017 through July 31, 2017 Statement
308     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089362-G0089383
        Burdett Legal Consulting LLC
        August 01, 2017 through August 31, 2017 Statement
309     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089384-G0089396
        Burdett Legal Consulting LLC
        September 01, 2017 through September 29, 2017
        Statement
310     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089397-G0089411
        Burdett Legal Consulting LLC
        September 30, 2017 through October 31, 2017 Statement
311     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089412-G0089421
        Burdett Legal Consulting LLC
        November 01, 2017 through November 30, 2017
        Statement
312     JPMorgan Chase Bank, N.A. Account Ending 5770           G0089422-G0089432
        Burdett Legal Consulting LLC

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EXHIBIT DESCRIPTION                                              BATES RANGE
NUMBER
        December 01, 2017 through December 29, 2017
        Statement
313     Jason Rogers Williams & Associates, LLC Chase            G0089453
        Account #0359 Check #2740 dated 2/2/2018 Pay To the
        Order of Burdett Legal Consulting in the amount of
        $177,635.00
        Memo Butler Farmer Brown Sanchez
314     Jason Rogers Williams & Associates, LLC Chase            G0089572
        Account #0359 Check #2885 dated 1/18/2019 Pay To
        the Order of Burdett Legal Consulting in the amount of
        $421,253.10
        Memo Wendell Fisher
315     JPMorgan Chase Bank, N.A. Checking Account Ending        G0104361-G0104366
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Jan 2015-Feb 2015 Statement
316     JPMorgan Chase Bank, N.A. Checking Account Ending        G0104367-G0104372
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Feb 2015-March 2015
        Statement
317     JPMorgan Chase Bank, N.A. Checking Account Ending        G0096075-G0096082
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Mar 2015-Apr 2015
        Statement
318     JPMorgan Chase Bank, N.A. Checking Account Ending        G0096086-G0096093
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Apr 2015-May 2015 Statement
319     JPMorgan Chase Bank, N.A. Checking Account Ending        G0096096-G0096101
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        May 2015-June 2015
        Statement
320     JPMorgan Chase Bank, N.A. Checking Account Ending        G0096102-G0096107
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        June 2015-July 2015
        Statement
321     JPMorgan Chase Bank, N.A. Checking Account Ending        G0096108-G0096113
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        July 2015-Aug 2015

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EXHIBIT DESCRIPTION                                         BATES RANGE
NUMBER
        Statement
322     JPMorgan Chase Bank, N.A. Checking Account Ending   G0094893-G0094898
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Aug 2015-Sept 2015
        Statement
323     JPMorgan Chase Bank, N.A. Checking Account Ending   G0094902-G0094907
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Sept 2015-Oct 2015 Statement
324     JPMorgan Chase Bank, N.A. Checking Account Ending   G0094913-G0094918
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Oct 2015-Nov 2015
        Statement
325     JPMorgan Chase Bank, N.A. Checking Account Ending   G0094934-G0094939
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Nov 2015-Dec 2015
        Statement
326     JPMorgan Chase Bank, N.A. Checking Account Ending   G0094953-G0094958
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Dec 2015-Jan 2016
        Statement
327     JPMorgan Chase Bank, N.A. Checking Account Ending   G0094974-G0094979
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Jan 2016-Feb 2016
        Statement
328     JPMorgan Chase Bank, N.A. Checking Account Ending   G0094986-G0094991
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Feb 2016-Mar 2016
        Statement
329     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095006-G0095011
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Mar 2016-Apr 2016
        Statement
330     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095021-G0095026
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Apr 2016-May 2016

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EXHIBIT DESCRIPTION                                         BATES RANGE
NUMBER
        Statement
331     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095035-G0095040
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        May 2016-June 2016
        Statement
332     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095052-G0095057
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        June 2016-July 2016
        Statement
333     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095071-G0095076
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        July 2016-Aug 2016
        Statement
334     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095094-G0095099
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Aug 2016-Sept 2016
        Statement
335     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095111-G0095116
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Sept 2016-Oct 2016
        Statement
336     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095123-G0095130
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Oct 2016-Nov 2016
        Statement
337     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095141-G0095146
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Nov 2016-Dec 2016
        Statement
338     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095157-G0095162
        #5601 & #7850
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Dec 2016-Jan 2017
        Statement
339     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095172-G0095177
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack

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EXHIBIT DESCRIPTION                                         BATES RANGE
NUMBER
        Jan 2017-Feb 2017
        Statement
340     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095188-G0095193
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Feb 2017-Mar 2017
        Statement
341     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095200-G0095207
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Mar 2017-Apr 2017
        Statement
342     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095216-G0095221
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Apr 2017-May 2017
        Statement
343     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095232-G0095237
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        May 2017-Jun 2017
        Statement
344     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095249-G0095254
        #5601 & 7850
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Jun 2017-Jul 2017
        Statement
345     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095266-G0095271
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Jul 2017-Aug 2017
        Statement
346     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095278-G0095283
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Aug 2017-Sept 2017
        Statement
347     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095301-G0095306
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Sept 2017-Oct 2017
        Statement
348     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095317-G0095322
        #5601

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EXHIBIT DESCRIPTION                                         BATES RANGE
NUMBER
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Oct 2017-Nov 2017
        Statement
349     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095327-G0095332
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Nov 2017-Dec 2017
        Statement
350     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095343-G0095348
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Dec 2017-Jan 2018
        Statement
351     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095355-G0095360
        #5601 & 7850
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Jan 2018-Feb 2018
        Statement
352     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095367-G0095372
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Feb 2018-March 2018
        Statement
353     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095387-G0095392
        #5601, #5317 & #7850
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Mar 2018-Apr 2018
        Statement
354     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095398-G0095405
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Apr 2018-May 2018
        Statement
355     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095412-G0095419
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        May 2018-June 2018
        Statement
356     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095423-G0095428
        #5601 & 5317
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        June 2018-July 2018
        Statement


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EXHIBIT DESCRIPTION                                         BATES RANGE
NUMBER
357     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095434-G0095439
        #5601, #5317 & #7850
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        July 2018-Aug 2018
        Statement
358     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095446-G0095453
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Aug 2018-Sept 2018
        Statement
359     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095461-G0095468
        #5601
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Sept 2018-Oct 2018
        Statement
360     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095473-G0095480
        #5601 & #5317
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Oct 2018-Nov 2018
        Statement
361     JPMorgan Chase Bank, N.A. Checking Account Ending   G0095483-G0095490
        #5601 & 5317
        Nicole E Burdett-Waguespack or Troy M. Waguespack
        Nov 2018-Dec 2018
        Statement
362     Chase Card Services Account Ending 2339             G0103848-G0103850
        Nicole E. Burdett
        Opening/Closing Date: Nov 2013-Dec 2013
        Payment Due Date: Jan 09, 2014
363     Chase Card Services Account Ending 2339             G0103852-G0103854
        Nicole E. Burdett
        Opening/Closing Date: Dec 2013-Jan 2014
        Payment Due Date: Feb 09, 2014
364     Chase Card Services Account Ending 2339             G0103856-G0103858
        Nicole E. Burdett
        Opening/Closing Date: Jan 2014-Feb 2014
        Payment Due Date: Mar 09, 2014
365     Chase Card Services Account Ending 2339             G0103860-G0103862
        Nicole E. Burdett
        Opening/Closing Date: Feb 2014-Mar 2014
        Payment Due Date: April 09, 2014
366     Chase Card Services Account Ending 2339             G0103864-G0103866
        Nicole E. Burdett
        Opening/Closing Date: Mar 2014-Apr 2014

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Payment Due Date: May 09, 2014
367     Chase Card Services Account Ending 2339        G0103868-G0103870
        Nicole E. Burdett
        Opening/Closing Date: Apr 2014-May 2014
        Payment Due Date: June 09, 2014
368     Chase Card Services Account Ending 2339        G0103872-G0103874
        Nicole E. Burdett
        Opening/Closing Date: May 2014-Jun 2014
        Payment Due Date: July 09, 2014
369     Chase Card Services Account Ending 2339        G0103876-G0103878
        Nicole E. Burdett
        Opening/Closing Date: Jun 2014-Jul 2014
        Payment Due Date: Aug 09, 2014
370     Chase Card Services Account Ending 2339        G0103880-G0103883
        Nicole E. Burdett
        Opening/Closing Date: Jul 2014-Aug 2014
        Payment Due Date: Sept 09, 2014
371     Chase Card Services Account Ending 4404        G0103885-G0103888
        Nicole E. Burdett
        Opening/Closing Date: Aug 2014-Sept 2014
        Payment Due Date: Oct 09, 2014
372     Chase Card Services Account Ending 4404        G0103889-G0103892
        Nicole E. Burdett
        Opening/Closing Date: Sept 2017-Oct 2014
        Payment Due Date: Nov 09, 2014
373     Chase Card Services Account Ending 4404        G0103893-G0103896
        Nicole E. Burdett
        Opening/Closing Date: Oct 2014-Nov 2014
        Payment Due Date: Dec 09, 2014
374     Chase Card Services Account Ending 4404        G0103897-G0103990
        Nicole E. Burdett
        Opening/Closing Date: Nov 2014-Dec 2014
        Payment Due Date: Jan 09, 2015
375     Chase Card Services Account Ending 4404        G0103901-G0103905
        Nicole E. Burdett
        Opening/Closing Date: Dec 2014-Jan 2015
        Payment Due Date: Feb 09, 2015
376     Chase Card Services Account Ending 4404        G0103907-G0103909
        Nicole E. Burdett
        Opening/Closing Date: Jan 2015-Feb 2015
        Payment Due Date: Mar 09, 2015
377     Chase Card Services Account Ending 4404        G0103911-G0103913
        Nicole E. Burdett
        Opening/Closing Date: Feb 2015-Mar 2015

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Payment Due Date: April 09, 2015
378     Chase Card Services Account Ending 4404        G0103915-G0103917
        Nicole E. Burdett
        Opening/Closing Date: Mar 2015-Apr 2015
        Payment Due Date: May 09, 2015
379     Chase Card Services Account Ending 4404        G0103919-G0103921
        Nicole E. Burdett
        Opening/Closing Date: Apr 2015-May 2015
        Payment Due Date: June 09, 2015
380     Chase Card Services Account Ending 4404        G0103923-G0103925
        Nicole E. Burdett
        Opening/Closing Date: May 2015-Jun 2015
        Payment Due Date: July 09, 2015
381     Chase Card Services Account Ending 4404        G0103927-G0103929
        Nicole E. Burdett
        Opening/Closing Date: Jun 2015-Jul 2015
        Payment Due Date: Aug 09, 2015
382     Chase Card Services Account Ending 4404        G0103931-G0103933
        Nicole E. Burdett
        Opening/Closing Date: Jul 2015-Aug 2015
        Payment Due Date: Sept 09, 2015
383     Chase Card Services Account Ending 4404        G0103935-G0103937
        Nicole E. Burdett
        Opening/Closing Date: Aug 2015-Sept 2015
        Payment Due Date: Oct 09, 2015
384     Chase Card Services Account Ending 4404        G0103939-G0103941
        Nicole E. Burdett
        Opening/Closing Date: Sept 2015-Oct 2015
        Payment Due Date: Nov 09, 2015
385     Chase Card Services Account Ending 4404        G0103943-G0103945
        Nicole E. Burdett
        Opening/Closing Date: Oct 2015-Nov 2015
        Payment Due Date: Dec 09, 2015
386     Chase Card Services Account Ending 4404        G0103947-G0103949
        Nicole E. Burdett
        Opening/Closing Date: Nov 2015-Dec 2015
        Payment Due Date: Jan 09, 2016
387     Chase Card Services Account Ending 4404        G0103951-G0103953
        Nicole E. Burdett
        Opening/Closing Date: Dec 2015-Jan 2016
        Payment Due Date: Feb 09, 2016
388     Chase Card Services Account Ending 4404        G0103955-G0103957
        Nicole E. Burdett
        Opening/Closing Date: Jan 2016-Feb 2016

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Payment Due Date Mar 09, 2016
389     Chase Card Services Account Ending 4404        G0103959-G0103961
        Nicole E. Burdett
        Opening/Closing Date: Feb 2016-Mar 2016
        Payment Due Date: April 09, 2016
390     Chase Card Services Account Ending 4404        G0103963-G0103965
        Nicole E. Burdett
        Opening/Closing Date: Mar 2016-Apr 2016
        Payment Due Date: May 09, 2016
391     Chase Card Services Account Ending 4404        G0103967-G0103969
        Nicole E. Burdett
        Opening/Closing Date: Apr 2016-May 2016
        Payment Due Date: June 09, 2016
392     Chase Card Services Account Ending 4404        G0103971-G0103973
        Nicole E. Burdett
        Opening/Closing Date: May 2016-Jun 2016
        Payment Due Date: Jul 09, 2016
393     Chase Card Services Account Ending 4404        G0103975-G0103977
        Nicole E. Burdett
        Opening/Closing Date: Jun 2016-Jul 2016
        Payment Due Date: Aug 09, 2016
394     Chase Card Services Account Ending 4404        G0103979-G0103981
        Nicole E. Burdett
        Opening/Closing Date: Jul 2016-Aug 2016
        Payment Due Date: Sept 09, 2016
395     Chase Card Services Account Ending 4404        G0103983-G0103985
        Nicole E. Burdett
        Opening/Closing Date: Aug 2016-Sept 2016
        Payment Due Date: Oct 09, 2016
396     Chase Card Services Account Ending 4404        G0103987-G0103989
        Nicole E. Burdett
        Opening/Closing Date: Sept 2016-Oct 2016
        Payment Due Date: Nov 09, 2016
397     Chase Card Services Account Ending 4404        G0103991-G0103993
        Nicole E. Burdett
        Opening/Closing Date: Oct 2016-Nov 2016
        Payment Due Date: Dec 09, 2016
398     Chase Card Services Account Ending 4404        G0103995-G0103998
        Nicole E. Burdett
        Opening/Closing Date: Nov 2016-Dec 2016
        Payment Due Date: Jan 09, 2017
399     Chase Card Services Account Ending 4404        G0103999-G0104001
        Nicole E. Burdett
        Opening/Closing Date: Dec 2016-Jan 2017

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Payment Due Date: Feb 09, 2017
400     Chase Card Services Account Ending 4404        G0104003-G0104005
        Nicole E. Burdett
        Opening/Closing Date: Jan 2017-Feb 2017
        Payment Due Date: Mar 09, 2017
401     Chase Card Services Account Ending 4404        G0104007-G0104009
        Nicole E. Burdett
        Opening/Closing Date: Feb 2017-Mar 2017
        Payment Due Date: Apr 09, 2017
402     Chase Card Services Account Ending 4404        G0104011-G0104013
        Nicole E. Burdett
        Opening/Closing Date: Mar 2017-Apr 2017
        Payment Due Date: May 09, 2017
403     Chase Card Services Account Ending 4404        G0104015-G0104017
        Nicole E. Burdett
        Opening/Closing Date: Apr 2017-May 2017
        Payment Due Date: Jun 09, 2017
404     Chase Card Services Account Ending 4404        G0104019-G0104021
        Nicole E. Burdett
        Opening/Closing Date: May 2017-Apr 2017
        Payment Due Date: July 09, 2017
405     Chase Card Services Account Ending 4404        G0104023-G0104025
        Nicole E. Burdett
        Opening/Closing Date: Jun 2017-Jul 2017
        Payment Due Date: Aug 09, 2017
406     Chase Card Services Account Ending 4404        G0104027-G0104029
        Nicole E. Burdett
        Opening/Closing Date: Jul 2017-Aug 2017
        Payment Due Date: Sept 09, 2017
407     Chase Card Services Account Ending 4404        G0104031-G0104033
        Nicole E. Burdett
        Opening/Closing Date: Aug 2017-Sep 2017
        Payment Due Date: Oct 09, 2017
408     Chase Card Services Account Ending 4404        G0104035-G0104037
        Nicole E. Burdett
        Opening/Closing Date: Sep 2017-Oct 2017
        Payment Due Date: Nov 09, 2017
409     Chase Card Services Account Ending 4404        G0104039-G0104041
        Nicole E. Burdett
        Opening/Closing Date: Oct 2017-Nov 2017
        Payment Due Date: Dec 09, 2017
410     Chase Card Services Account Ending 4404        G0104043-G0104046
        Nicole E. Burdett
        Opening/Closing Date: Nov 2017-Dec 2017

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Payment Due Date: Jan 09, 2018
411     Chase Card Services Account Ending 4404        G0104047-G0104049
        Nicole E. Burdett
        Opening/Closing Date: Dec 2017-Jan 2018
        Payment Due Date: Feb 09, 2018
412     Chase Card Services Account Ending 4404        G0104051-G0104053
        Nicole E. Burdett
        Opening/Closing Date: Jan 2018-Feb 2018
        Payment Due Date: Mar 09, 2018
413     Chase Card Services Account Ending 4404        G0104055-G0104057
        Nicole E. Burdett
        Opening/Closing Date: Feb 2018-Mar 2018
        Payment Due Date: Apr 09, 2018
414     Chase Card Services Account Ending 4404        G0104059-G0104061
        Nicole E. Burdett
        Opening/Closing Date: Mar 2018-Apr 2018
        Payment Due Date: May 09, 2018
415     Chase Card Services Account Ending 4404        G0104063-G0104065
        Nicole E. Burdett
        Opening/Closing Date: Apr 2018-May 2018
        Payment Due Date: Jun 09, 2018
416     Chase Card Services Account Ending 4404        G0104067-G0104069
        Nicole E. Burdett
        Opening/Closing Date: May 2018-Jun 2018
        Payment Due Date: July 09, 2018
417     Chase Card Services Account Ending 4404        G0104071-G0104073
        Nicole E. Burdett
        Opening/Closing Date: Jun 2018-Jul 2018
        Payment Due Date: Aug 09, 2018
418     Chase Card Services Account Ending 4404        G0104075-G0104077
        Nicole E. Burdett
        Opening/Closing Date: Jul 2018-Aug 2018
        Payment Due Date: Sept 09, 2018
419     Chase Card Services Account Ending 4404        G0104079-G0104081
        Nicole E. Burdett
        Opening/Closing Date: Aug 2018-Sept 2018
        Payment Due Date: Oct 09, 2018
420     Chase Card Services Account Ending 4404        G0104083-G0104085
        Nicole E. Burdett
        Opening/Closing Date: Sept 2018-Oct 2018
        Payment Due Date: Nov 09, 2018
421     Chase Card Services Account Ending 4404        G0104087-G0104089
        Nicole E. Burdett
        Opening/Closing Date: Oct 2018-Nov 2018

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Payment Due Date: Dec 09, 2018
422     Chase Card Services Account Ending 4404        G0104091-G0104093
        Nicole E. Burdett
        Opening/Closing Date: Nov 2018-Dec 2018
        Payment Due Date: Jan 09, 2019
423     Chase Card Services Account Ending 9980        G0104766-G0104768
        Troy W. Waguespack
        Opening/Closing Date: Apr 2016-May 2016
        Payment Due Date: May 28, 2016
424     Chase Card Services Account Ending 9980        G0104770-G0104772
        Troy W. Waguespack
        Opening/Closing Date: May 2016-Jun 2016
        Payment Due Date: June 28, 2016
425     Chase Card Services Account Ending 9980        G0104774-G0104776
        Troy W. Waguespack
        Opening/Closing Date: Jun 2016-Jul 2016
        Payment Due Date: Jul 28, 2016
426     Chase Card Services Account Ending 9980        G0104778-G0104780
        Troy W. Waguespack
        Opening/Closing Date: Jul 2016-Aug 2016
        Payment Due Date: Aug 28, 2016
427     Chase Card Services Account Ending 9980        G0104782-G0104784
        Troy W. Waguespack
        Opening/Closing Date: Aug 2016-Sep 2016
        Payment Due Date: Sept 28, 2016
428     Chase Card Services Account Ending 9980        G0104786-G0104788
        Troy W. Waguespack
        Opening/Closing Date: Sept 2016-Oct 2016
        Payment Due Date: Oct 28, 2016
429     Chase Card Services Account Ending 9980        G0104790-G0104792
        Troy W. Waguespack
        Opening/Closing Date: Oct 2016-Nov 2016
        Payment Due Date: Nov 28, 2016
430     Chase Card Services Account Ending 9980        G0104794-G0104796
        Troy W. Waguespack
        Opening/Closing Date: Nov 2016-Dec 2016
        Payment Due Date: Dec 28, 2016
431     Chase Card Services Account Ending 9980        G0104798-G0104800
        Troy W. Waguespack
        Opening/Closing Date: Dec 2016-Jan 2017
        Payment Due Date: Jan 28, 2017
432     Chase Card Services Account Ending 9980        G0104802-G0104804
        Troy W. Waguespack
        Opening/Closing Date: Jan 2017-Feb 2017

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Payment Due Date: Feb 28, 2017
433     Chase Card Services Account Ending 9980        G0104806-G0104808
        Troy W. Waguespack
        Opening/Closing Date: Feb 2017-Mar 2017
        Payment Due Date: March 28, 2017
434     Chase Card Services Account Ending 9980        G0104810-G0104812
        Troy W. Waguespack
        Opening/Closing Date: Mar 2017-Apr 2017
        Payment Due Date: April 28, 2017
435     Chase Card Services Account Ending 9980        G0104814-G0104816
        Troy W. Waguespack
        Opening/Closing Date: Apr 2017-May 2017
        Payment Due Date: May 28, 2017
436     Chase Card Services Account Ending 9980        G0104818-G0104820
        Troy W. Waguespack
        Opening/Closing Date: May 2017-Jun 2017
        Payment Due Date: June 28, 2017
437     Chase Card Services Account Ending 9980        G0104822-G0104824
        Troy W. Waguespack
        Opening/Closing Date: Jun 2017-Jul 2017
        Payment Due Date: July 28, 2017
438     Chase Card Services Account Ending 9980        G0104826-G0104828
        Troy W. Waguespack
        Opening/Closing Date: Jul 2017-Aug 2017
        Payment Due Date: Aug 28, 2017
439     Chase Card Services Account Ending 9980        G0104830-G0104832
        Troy W. Waguespack
        Opening/Closing Date: Aug 2017-Sept 2017
        Payment Due Date: Sept 28, 2017
440     Chase Card Services Account Ending 9980        G0104834-G0104836
        Troy W. Waguespack
        Opening/Closing Date: Sept 2017-Oct 2017
        Payment Due Date: Oct 28, 2017
441     Chase Card Services Account Ending 9980        G0104838-G0104841
        Troy W. Waguespack
        Opening/Closing Date: Oct 2017-Nov 2017
        Payment Due Date: Nov 28, 2017
442     Chase Card Services Account Ending 9980        G0104842-G0104844
        Troy W. Waguespack
        Opening/Closing Date: Nov 2017-Dec 2017
        Payment Due Date: Dec 28, 2017
443     Chase Card Services Account Ending 9980        G0104846-G0104848
        Troy W. Waguespack
        Opening/Closing Date: Dec 2017-Jan 2018

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Payment Due Date: Jan 28, 2018
444     Chase Card Services Account Ending 9980        G0104850-G0104852
        Troy W. Waguespack
        Opening/Closing Date: Jan 2018-Feb 2018
        Payment Due Date: Feb 28, 2018
445     Chase Card Services Account Ending 9980        G0104854-G0104856
        Troy W. Waguespack
        Opening/Closing Date: Feb 2018-Mar 2018
        Payment Due Date: March 28, 2018
446     Chase Card Services Account Ending 9980        G0104858-G0104860
        Troy W. Waguespack
        Opening/Closing Date: Mar 2018-Apr 2018
        Payment Due Date: Apr 28, 2018
447     Chase Card Services Account Ending 9980        G0104862-G0104864
        Troy W. Waguespack
        Opening/Closing Date: Apr 2018-May 2018
        Payment Due Date: May 28, 2018
448     Chase Card Services Account Ending 9980        G0104866-G0104868
        Troy W. Waguespack
        Opening/Closing Date: May 2018-Jun 2018
        Payment Due Date: June 28, 2018
449     Chase Card Services Account Ending 9980        G0104870-G0104872
        Troy W. Waguespack
        Opening/Closing Date: Jun 2018-Jul 2018
        Payment Due Date: July 28, 2018
450     Chase Card Services Account Ending 9980        G0104874-G0104876
        Troy W. Waguespack
        Opening/Closing Date: Jul 2018-Aug 2018
        Payment Due Date: Aug 28, 2018
451     Chase Card Services Account Ending 9980        G0104878-G0104880
        Troy W. Waguespack
        Opening/Closing Date: Aug 2018-Sept 2018
        Payment Due Date: Sept 28, 2018
452     Chase Card Services Account Ending 9980        G0104882-G0104884
        Troy W. Waguespack
        Opening/Closing Date: Sept 2018-Oct 2018
        Payment Due Date: Oct 28, 2018
453     Chase Card Services Account Ending 9980        G0104886-G0104888
        Troy W. Waguespack
        Opening/Closing Date: Oct 2018-Nov 2018
        Payment Due Date: Nov 28, 2018
454     Chase Card Services Account Ending 9980        G0104890-G0104892
        Troy W. Waguespack
        Opening/Closing Date: Nov 2018-Dec 2018

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EXHIBIT DESCRIPTION                                         BATES RANGE
NUMBER
        Payment Due Date: Dec 28, 2018
455     JPMorgan Chase Bank, N.A. Checking Account Ending   G0103708-G0103717
        #5317
        Nicole E Burdett or Troy M. Waguespack
        February 27, 2018-March 23, 2018
        Statement
456     JPMorgan Chase Bank, N.A. Checking Account Ending   G0103718-G0103727
        #5317
        Nicole E Burdett or Troy M. Waguespack
        March 24, 2018-April 24, 2018
        Statement
457     JPMorgan Chase Bank, N.A. Checking Account Ending   G0103728-G0103740
        #5317
        Nicole E Burdett or Troy M. Waguespack
        April 25, 2018-May 23, 2018
        Statement
458     JPMorgan Chase Bank, N.A. Checking Account Ending   G0103741-G0103753
        #5317
        Nicole E Burdett or Troy M. Waguespack
        May 24, 2018-June 25, 2018
        Statement
459     JPMorgan Chase Bank, N.A. Checking Account Ending   G0103754-G0103764
        #5317
        Nicole E Burdett or Troy M. Waguespack
        June 26, 2018-July 25, 2018
        Statement
460     JPMorgan Chase Bank, N.A. Checking Account Ending   G0103765-G0103772
        #5317
        Nicole E Burdett or Troy M. Waguespack
        July 26, 2018-August 23, 2018
        Statement
461     JPMorgan Chase Bank, N.A. Checking Account Ending   G0103773-G0103789
        #5317
        Nicole E Burdett or Troy M. Waguespack
        August 24, 2018-September 26, 2018
        Statement
462     JPMorgan Chase Bank, N.A. Checking Account Ending   G0103790-G0103799
        #5317
        Nicole E Burdett or Troy M. Waguespack
        September 27, 2018-October 24, 2018
        Statement
463     JPMorgan Chase Bank, N.A. Checking Account Ending   G0103800-G0103811
        #5317
        Nicole E Burdett or Troy M. Waguespack

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EXHIBIT DESCRIPTION                                             BATES RANGE
NUMBER
        October 25, 2018-November 27, 2018
        Statement
464     JPMorgan Chase Bank, N.A. Checking Account Ending       G0103812-G0103821
        #5317
        Nicole E Burdett or Troy M. Waguespack
        November 28, 2018-December 26, 2018
        Statement
465     Chase Cashier’s Check No 9178921409                     G0095883
        Remitter: Nicole E Burdett/Troy M Waguespack
        Pay to the Order of: Waterscapes Pool & Spa, LLC
        Date 03/05/2018
        $18,000.00
466     Civil District Court of the Parish of Orleans           G0118692-G0118696
        State of Louisiana
        Bridget Barthelemy vs Jason Williams
        No. 2014-9197
        Petition for Divorce Pursuant to Louisiana Civil Code
        Article 103-2 and in the Alternative Pursuant to
        Louisiana Civil Code Article 102
467     Civil District Court of the Parish of Orleans           G0127351-G0127355
        State of Louisiana
        Bridget Barthelemy vs Jason Williams
        No. 2014-9197
        Judgment
468     Civil District Court of the Parish of Orleans           G0118697
        State of Louisiana
        Bridget Barthelemy vs Jason Williams
        No. 2014-9197
        Judgment of Divorce
        Signed March 30, 2016
469     Department of the Treasury                              G0126672-G0126677
        Internal Revenue Service
        Publication 1544
        (Rev. September 2014)
        Reporting Cash Payments of Over $10,000
        (Received in a Trade or Business)
470     Department of the Treasury                              G0127030-G0127033
        Internal Revenue Service
        Publication 535
        Business Expenses
        For use in preparing 2013 Returns
471     Department of the Treasury                              G0127034-G0127037
        Internal Revenue Service
        Publication 535

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EXHIBIT DESCRIPTION                                              BATES RANGE
NUMBER
        Business Expenses
        For use in preparing 2014 Returns
472     Department of the Treasury                               G0127044-G0127047
        Internal Revenue Service
        Publication 535
        Business Expenses
        For use in preparing 2015 Returns
473     Department of the Treasury                               G0127048-G0127051
        Internal Revenue Service
        Publication 535
        Business Expenses
        For use in preparing 2016 Returns
474     Department of the Treasury                               G0127039-G0127042
        Internal Revenue Service
        Publication 535
        Business Expenses
        For use in preparing 2017 Returns
475     Title Link LLC                                           G0056849-G0056851
        ALTA Settlement Statement
        File No 07-18-02
        Property Address: 3000 St. Charles Avenue, United 406,
        New Orleans, LA
        Borrower: Jason R Williams
476     JRW and Assoc. 2017                                      G0056971-G0056975
        Profit & Loss
        January through March 2019
477     Residential Lease Agreement                              G0057133-G0057136
        September 28, 2018
        Between Jason Williams and Janice Rogers
478     Email from Nicole Burdett to David Garretson             G0109721
        Dated January 24, 2018 9:48 am
        Subject Jason Bank Statements
479     Email from Nicole Burdett to David Garretson             G0109722
        Dated January 24, 2018 10:27 am
        Subject Jason taxes
480     Email from Nicole Burdett to David Garretson             G0109723-G0109724
        Dated January 24, 2018 11:14 am
        Subject RE: W2 and Stubs
481     Email from Nicole Burdett to David Garretson             G0109725-G0109726
        Dated July 11, 2018 3:38 pm
        Subject RE: Documents Needed
482     Email from Nicole Burdett to David Garretson             G0109727
        Dated July 11, 2018 5:19 pm
        Subject Fwd: JRW Council Statements

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EXHIBIT DESCRIPTION                                           BATES RANGE
NUMBER
483     Email from Nicole Burdett to David Garretson          G0109728-G0109729
        Dated July 16, 2018 4:09 pm
        Subject RE: Signatures
484     Email from Nicole Burdett to Pamela Eskine            G0109730-G0109731
        Dated July 20, 2018 11:50 am
        Subject RE: Crescent City Mortgage – Jason Williams
485     Email from Robert Hienz to Nicole Burdett             G0109732
        Dated February 25, 2019 4:52 pm
        Subject tax
486     Email from Nicole Burdett to David Garretson          G0109733
        Dated March 11, 2019 4:35 pm
        Subject RE: Conditions Remaining
487     Email from Robert Hienz to David Garretson, Nicole    G0109734-G0109735
        Burdett
        Dated March 11, 2019 4:36 pm
        Subject RE: tax
488     Email from Robert Hienz to David Garretson, Nicole    G0109736-G0109737
        Burdett
        Dated March 11, 2019 4:41 pm
        Subject RE: Crescent City Mortgage – Jason Williams
489     Email from Liz Marcell Williams to David Garretson,   G0109738
        Nicole Burdett, Jason Williams
        Dated March 11, 2019 4:44 pm
        Subject Fwd: 2017 signed returns
490     Email from Liz Marcell Williams to David Garretson,   G0109739
        Donna Dalton, Gwen Banks
        Dated March 11, 2019 5:07 pm
        Subject Proof of Employment for E. Marcell
491     Email from Liz Marcell Williams to David Garretson    G0109740
        Dated March 11 2019 5:30 pm
        Subject Contact information
492     Email from Donna Dalton to Liz Marcell Williams,      G0109741
        David Garretson, Gwen Banks
        Dated March12, 2019 9:13 am
        Subject RE: Proof of Employment for E. Marcell
493     Email from Gwen Banks to David Garretson              G0109742-G0109743
        Dated March 12, 2019 9:31 am
        Subject RE: Proof of Employment for E. Marcell
494     Email from Candice Bowers to Liz Marcell Williams     G0109744-G0109745
        and Donna Dalton
        Dated March 12, 2019 10:19 am
        Subject RE: Proof of Employment for E. Marcell
495     Email from Candice Bowers to David Garretson          G0109746
        Dated March 12, 2019 11:16 am

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EXHIBIT DESCRIPTION                                            BATES RANGE
NUMBER
        Subject Reg. VOE – Elizabeth Marcell Williams
496     Email from Nicole Burdett to David Garretson           G0109747-G0109748
        Dated March 13, 2019 10:55 am
        Subject Large Deposit Proof
497     Email from Nicole Burdett to David Garretson           G0109749
        Dated March 13, 2019 11:09 am
        Subject RE: Things Needed
498     Email from Nicole Burdett to Alicia Winn; David        G0109750-G0109752
        Garretson
        Dated March 13, 2019 11:40 am
        Subject RE: Things Needed
499     Email from Nicole Burdett to Robert Hienz, Anthony     G0109753
        Macaluso
        Dated March 14, 2019 3:00 pm
        Subject Payment of 2018 Taxes – Jason Williams
500     Email from Liz Marcell Williams to Alicia Winn         G0109754
        Dated March 14, 2019 3:57 pm
        Subject Center for Resilience
501     Email from Nicole Burdett to David Garretson           G0109755-G0109756
        Dated March 14, 2019 4:27 pm
        Subject FW: IRS Direct Pay Confirmation of Scheduled
        Transaction
502     Email from Nicole Burdett to David Garretson; Alicia   G0109757
        Winn, Jason Williams, Elizabeth Marcell
        Dated March 15, 2019 6:31am
        Subject IRS Drafting Pending…..
503     Email from David Garretson to Nicole Burdett           G0109758
        Dated July 29, 2018 8:11 am
        Subject appraisal
504     Email from David Garretson to Nicole Burdett; Sissy    G0109759
        Blewster; Jason Williams
        Dated August 8, 2019 2:12 pm
        Subject Update on Title
505     Email from David Garretson to Nicole Burdett           G0109760-G0109764
        Dated August 10, 2018 9:50 am
        Subject RE: UPC Condo proposal / Eustis Insurance
506     Email from David Garretson to Nicole Burdett; Jason    G0109765
        Williams
        Dated January 31, 2019 3:37 pm
        Subject Insurance quotes
507     Email from David Garretson to Jason Williams; Nicole   G0109766
        Burdett
        Dated February 8, 2019 6:38 am
        Subject Contract on New Home

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EXHIBIT DESCRIPTION                                              BATES RANGE
NUMBER
508     Email from David Garretson to Nicole Burdett; Jason      G0109767-G0109771
        Williams
        Dated February 11, 2019 10:48 am
        Subject Documents Needed for New Home Purchase
509     Email from David Garretson to Liz Marcell Williams;      G0109772-G0109775
        Nicole Burdett
        Dated February 20, 2019 9:09 am
        Subject RE: Documents Needed for New Home
        Purchase
510     Email from David Garretson to Liz Marcell Williams       G0109776-G0109781
        Dated February 20, 2019 9:47 am
        Subject RE: Documents Needed for New Home
        Purchase
511     Email from David Garretson to Jason Williams; emarcell   G0109782
        Dated February 22, 2019 7:16 am
        Subject Rate
512     Email from David Garretson to JRWilliams, Emarcell,      G0109783
        Nicole Burdett
        Dated March 11, 2019 3:28 pm
        Subject Conditions Remaining
513     Email from David Garretson to Liz Marcell Williams;      G0109784-G0109791
        Robert Hienz
        Dated March 11, 2019 4:39 pm
        Subject RE: tax
514     Email from David Garretson to Nicole Burdett             G0109792
        Dated March 13, 2019 10:50 am
        Subject Things Needed
515     Email from David Garretson to Nicole Burdett             G0109793
        Dated February 14, 2019 12:30 pm
        Subject RE: Jason’s cc payoffs
516     Email from David Garretson to Jason Williams; Nicole     G0109794
        Burdett
        Dated March 19, 2019 9:26 am
        Subject FW: wiring instructions
517     Curtis A Moret                                           G0043030-G0043031
        Certified Public Accountant
        May 17, 2005 Filing and Payment Reminder to Jason R.
        Williams
        For 2002 Federal and Louisiana individual income tax
        returns
518     Curtis A. Moret                                          G0042941-G0042950
        Certified Public Accountant
        July 29, 2005 Filing and Payment Reminder to Jason R.
        Williams

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EXHIBIT DESCRIPTION                                            BATES RANGE
NUMBER
        For 2001 Federal and Louisiana individual income tax
        returns
        Includes Form 1040 2001 U.S. Individual Income Tax
        Return
519     Form 1040 2002 U.S. Individual Income Return for       G0043032-G0043040
        Jason R. Williams
520     Curtis A Moret                                         G0042933
        Certified Public Accountant
        August 6, 2005 invoice to Jason R. Williams
        For calendar years ended 2001, 2002 and 2003 and
        related tax and accounting matters
521     Internal Revenue Service                               G0043071-G0043073
        To Jason Rogers Williams
        Notice CP21A, Tax Year 2003
        Changes to your 2003 Form 1040, Notice date December
        12, 2011
522     Form 1040X                                             G0043078-G0043079
        Amended U.S. Individual Income Tax Return
        Calendar Year 2003
        Jason R. Williams
523     IRS letter to Jason Rogers Williams                    G0043091-G0043096
        Date Sep. 29, 2011
        Kind of Tax: Income; Amount of Claim: $424.00;
        Date of Claim(s) Received: July 08, 2011;
        Tax Period: December 31, 2004
        “WE COULDN’T ALLOW YOUR CLAIM”
524     Form 1040X                                             G0043104-G0043105
        Amended U.S. Individual Income Tax Return
        Calendar year 2004
        Jason R Williams
525     Form 1040X                                             G0043113-G0043114
        Amended U.S. Individual Tax Return
        Calendar year 2005
        Jason R Williams
526     IRS letter to Jason R Williams                         G0043143-G0043147
        Date June 03 2013
        Tax Period: Dec. 31, 2006
        Form: 1040
        Kind of Penalty(s): Failure to File, Failure to Pay
        “WE ARE SORRY THAT WE COULD NOT GRANT
        YOUR REQUEST”
527     IRS letter to Jason Williams                           G0043168-G0043171
        Date May 30, 2013
        Tax Period: Dec. 31, 2007

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EXHIBIT DESCRIPTION                                           BATES RANGE
NUMBER
        Form: 1040
        Kind of Penalty(s): Failure to File, Failure to Pay
528     IRS letter to Jason Williams                          G0043172-G0043175
        Date May 30, 2013
        Tax Period: Dec. 31, 2007
        Form: 1040
        Kind of Penalty(s): Failure to File Failure to Pay
529     Jason Williams & Bridget Barthelemy                   G0043236-G0043239
        IRS letter to Jason Williams & Bridget Barthelemy
        Letter date Oct. 06, 2011
        Tax Period(s): Dec. 31, 2008
        Form: 1040
530     IRS Notice CP49 to Jason Williams                     G0043242-G0043243
        Tax Year 2008
        Notice date October 24, 2011
        Overpayment
531     Gmail – Ltr from IRS re: 2008 Amendment               G0043246
        From Nicole Burdett to htimothy
        Tue, Oct 11 2011 at 9:37 AM
532     IRS Notice CP49                                       G0043285-G0043286
        To Jason Williams
        Ta Year 2009
        Notice Date August 1, 2011
        Overpayment
533     IRS Notice CP21B to Jason Williams                    G0043287-G0043288
        Tax Year 2009
        Notice date August 1, 2011
        Refund Due
534     IRS Notice CP504 to Jason Williams                    G0043303-G0043306
        Tax Year 2009
        Notice Date March 21 2011
        Notice of intent to levy
535     IRS Notice LT11 to Jason Williams                     G0043503-G0043507
        Notice Date March 11, 2015
        Intent to seize your property or rights to property
536     IRS letter to Jason Williams & Bridget Barthelemy     G0043508-G0043513
        Date May 27, 2015
        Form: 1040
        Tax periods ending Dec. 31, 2011 Dec. 31, 2013
        Unpaid tax – change in direct debit installment
        agreement
537     IRS letter to Jason Williams & Bridget Barthelemy     G0043524-G0043530
        Date Mar. 31, 2015
        Forms: 1040

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EXHIBIT DESCRIPTION                                              BATES RANGE
NUMBER
        Tax periods: Dec. 31, 2011 Dec. 31, 2013
        Installment agreement beginning Apr. 20, 2015
538     Form 433-D                                               G0043534-G0043536
        Department of the Treasury-Internal Revenue Service
        Installment Agreement
        Jason Rogers Williams & Bridget Barthelemy
        Signed by Jason Williams; Date 3/20/2015
539     Transaction Report                                       G0043537-G0043539
        Mar-20-2015 FRI 12:30 pm
        For: Form 433-D
        Department of the Treasury-Internal Revenue Service
        Installment Agreement
        Jason Rogers Williams & Bridget Barthelemy
        Signed by Jason Williams; Date 3/20/2015
        Fax cover sheet
540     IRS Notice CP14                                          G0043553-G0043556
        Tax year 2012
        Notice date June 3, 2013
        Jason Williams & Bridget Barthelemy
        Unpaid taxes for 2012
541     IRS Notice CP14                                          G0043576-G0043579
        Tax Year 2011
        Notice Date April 29 2013
        Jason Williams & Bridget Barthelemy
        Unpaid taxes for 2011
542     Jason Rogers Williams correspondence to Internal         G0043662-G0043663
        Revenue Service, Attn: Ms. N. Hughes
        Date November 29, 2010
        RE: Offer No. 100000802850
        Offer in Compromise
543     Taxpayer Request to Withdraw Letter                      G0043697
        Jason Rogers Williams
        Date 1-10-11
544     Internal Revenue Service                                 G0043699-G0043701
        Letter Jan 12, 2011 to Jason Rogers Williams
        Rejecting offer in compromise
545     Internal Revenue Service                                 G0043712-G0043713
        Date Dec 05, 2010
        To Jason Rogers Williams
        Completed preliminary analysis of Offer in Compromise.
        Determined ability to pay in full within the time
        provided by law
546     Internal Revenue Service                                 G0043975-G0043978
        Notice CP21A

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EXHIBIT DESCRIPTION                                          BATES RANGE
NUMBER
        Tax Year 2003
        Notice Date May 20, 2013
        To Jason Rogers Williams
        Changes to 2003 Form 1040
547     Fax Cover Sheet                                      G0043981
        Jason Rogers Williams & Associates
        To Tax Advocate Service – Attn: Ms. Butler
        Date: 8/8/2013
        From: Jason Rogers Williams
        Re: Request for Review of 2003
548     Fax Cover Sheet                                      G0044051-G0044053
        To: IRS Tax Advocate Request
        Date: July 31, 2013
        From: Nicole E. Burdett Esq.
        Re: Jason Williams Form 911 – Request for Taxpayer
        Advocate Services
        (with completed Form 911)
549     Form 2848 Power of Attorney and Declaration of       G0044054-G0044055
        Representative
        Taxpayer Jason Rogers Williams
        Representative Nicole E Burdett
        Dated 7/23/2023
550     Department of the Treasury                           G0044075
        Financial Management Service
        Payment Summary
        Date 03/06/13
        Jason R. Williams
551     IRS Repayment                                        G0044108
        (Summary)
        How to set up auto draft
        Handwritten note:
        “pd 3/14/13 over phone
        sent form 3/14/013
        pd online 5/15/2013 conf. 3603973”
552     Instructions for Form 843 (Rev. December 2012)       G0044110-G0044113
        Claim for Refund and Request for Abatement
553     Form 668                                             G0044463
        Notice of Federal Tax Lien
        Jason Rogers Williams
        October 19, 2007
554     IRS Notice CP49                                      G0044474
        Tax Year 2008
        Notice date October 24, 2011
        Jason Williams

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EXHIBIT DESCRIPTION                                             BATES RANGE
NUMBER
        2008 Form 1040 overpayment applied to tax you owe
555     Form 2015 U.S. Individual Income Tax Return re Troy     G0086795-G0086810
        Waguespack, includes notes
556     Form 2016 U.S. Individual Income Tax Return re Troy     G0086811-G0086835
        Waguespack, includes notes
557     Form 2017 U.S. Individual Income Tax Return re Troy     G0086836-G0086857
        Waguespack, includes notes
558     Jason Williams, City Counsel at Large correspondence    G0054197
        dated August 17 2017 to Louisiana Board of Ethics RE:
        Late Fee Assessment for the 10/14/17 Election 90-P
        Campaign Finance Disclosure Report filed 8 days late
559     JPMorgan Chase Bank, N.A. Checking Account Ending       G0104665-G0104670
        #5317
        Nicole E Burdett or Troy M. Waguespack
        June 26, 2018-July 25, 2018
        Statement
560     JPMorgan Chase Bank, N.A. Checking Account Ending       G0104673-G0104678
        #5317
        Nicole E Burdett or Troy M. Waguespack
        July 26, 2018-August 23, 2018
        Statement
561     JPMorgan Chase Bank, N.A. Checking Account Ending       G0104695-G0104702
        #5317
        Nicole E Burdett or Troy M. Waguespack
        October 25, 2018-November 27, 2018
        Statement
562     JPMorgan Chase Bank, N.A. Checking Account Ending       G0104703-G0104710
        #5317
        Nicole E Burdett or Troy M95141 Waguespack
        November 28, 2018-December 26, 2018
        Statement
563     JPMorgan Chase Bank, N.A. Account ending 7850           G0096015-G0096022
        Nicole E Burdett or Troy M Waguespack
        June 25, 2014 through July 24, 2014 Statement
564     JPMorgan Chase Bank, N.A. Account ending 7850 &         G0096057-G0096062
        #7850
        Nicole E Burdett or Troy M Waguespack
        December 24, 2014 through January 27, 2015 Statement
565     JPMorgan Chase Bank, N.A. Account ending 7850           G0096359-G0096366
        Nicole E Burdett or Troy M Waguespack
        May 24, 2018 through June 25, 2018 Statement
566     Chase Account Ending #2438                              G0104955-G0104957
        Troy M. Waguespack
        Statement

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EXHIBIT DESCRIPTION                                      BATES RANGE
NUMBER
        Opening/Closing Date 06/15/18-07/14/18
567     Chase Account Ending #2438                       G0104959-G0104961
        Troy M. Waguespack
        Statement
        Opening/Closing Date 07/15/18-08/14/18
568     Chase Account Ending #2438                       G0104963-G0104965
        Troy M. Waguespack
        Statement
        Opening/Closing Date 08/15/18-09/14/18
569     Chase Account Ending #2438                       G0104967-G0104970
        Troy M. Waguespack
        Statement
        Opening/Closing Date 09/15/18-10/14/18
570     Chase Account Ending #2438                       G0104971-G0104974
        Troy M. Waguespack
        Statement
        Opening/Closing Date 10/15/18-11/14/18
571     Chase Account Ending #2438                       G0096663-G0096665
        Troy M. Waguespack
        Statement
        Opening/Closing Date 08/15/18-09/14/18
572     Chase Account Ending #2438                       G0096667-G0096670
        Troy M. Waguespack
        Statement
        Opening/Closing Date 09/15/18-10/14/18
573     Chase Account Ending #2438                       G0096671-G0096674
        Troy M. Waguespack
        Statement
        Opening/Closing Date 10/15/18-11/14/18
574     Chase Bank Check 1093                            G0102667
        Date 11.17.2014
        Account ending 5601
        Nicole E Burdett
        Troy Waguespack
        Pay to the Order of Shady Grove Dude Ranch
        $300.00
        For deposit 12/26-12/29
575     JPMorgan Chase Bank, N.A. Account Ending #5601   G0095983-G0095988
        Nicole E Burdett or Troy M. Waguespack
        Statement
        January 28, 2014-February 26, 2014
576     JPMorgan Chase Bank, N.A. Account Ending #5601   G0096009-G0096014
        Nicole E Burdett or Troy M. Waguespack
        Statement

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EXHIBIT DESCRIPTION                                        BATES RANGE
NUMBER
        May 24, 2014-June 24, 2014
577     JPMorgan Chase Bank, N.A. Account Ending #5601     G0096043-G0096048
        Nicole E Burdett or Troy M. Waguespack
        Statement
        October 25, 2014-November 26, 2014
578     Special Warranty Deed                              G0111838-G0111841
        Seller: Fannie Mae aka Federal National Mortgage
        Association to Buyer: Nicole Elizabeth Burdett
        Dated March 26, 2010
579     JPMorgan Chase Statement, Account ending 0359      G0025564-G0025573
        Jason Rogers Williams and Associates LLC
        January 02, 2013-January 31, 2013
580     JPMorgan Chase Statement Account ending 0359       G0025719-G0025728
        Jason Rogers Williams and Associates LLC
        March 01, 2013-March 29, 2013
581     JPMorgan Chase Statement Account ending 0359       G0025784-G0025791
        Jason Rogers Williams and Associates LLC
        March 30, 2013-April 30, 2013
582     JPMorgan Chase Statement Account ending 0359       G0025849-G0025858
        Jason Rogers Williams and Associates LLC
        May 01, 2013-May 31, 2013
583     JPMorgan Chase Statement Account ending 0359       G0025915-G0025922
        Jason Rogers Williams and Associates LLC
        June 01, 2013-June 28, 2013
584     JPMorgan Chase Statement Account ending 0359       G0025998-G0026007
        Jason Rogers Williams and Associates LLC
        June 29, 2013-July 31, 2013
585     JPMorgan Chase Statement Account ending 0359       G0026129-G0026136
        Jason Rogers Williams and Associates LLC
        August 31, 2013-September 30, 2013
586     JPMorgan Chase Statement Account ending 0359       G0026186-G0026195
        Jason Rogers Williams and Associates LLC
        October 01, 2013-October 31, 2013
587     JPMorgan Chase Statement Account ending 0359       G0026309-G0026318
        Jason Rogers Williams and Associates LLC
        November 30, 2013-December 31, 2013
588     JPMorgan Chase Statement Account ending 0359       G0026506-G0026515
        Jason Rogers Williams and Associates LLC
        March 01, 2014-March 31, 2014
589     JPMorgan Chase Statement Account ending 0359       G0026582-G0026591
        Jason Rogers Williams and Associates LLC
        April 01, 2014-April 30, 2014
590     JPMorgan Chase Statement Account ending 0359       G0026667-G0026676
        Jason Rogers Williams and Associates LLC

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EXHIBIT DESCRIPTION                                         BATES RANGE
NUMBER
        May 01, 2014-May 30, 2014
591     JPMorgan Chase Statement Account ending 0359        G0026947-G0026954
        Jason Rogers Williams and Associates LLC
        August 30, 2014-September 30, 2014
592     JPMorgan Chase Statement Account ending 0359        G0026999-G0027006
        Jason Rogers Williams and Associates LLC
        October 01, 2014-October 31, 2014
593     JPMorgan Chase Statement Account ending 0359        G0027088-G0027095
        Jason Rogers Williams and Associates LLC
        November 29, 2014-December 31, 2014
594     JPMorgan Chase Statement Account ending 0359        G0027119-G0027126
        Jason Rogers Williams and Associates LLC
        January 01, 2015-January 30, 2015
595     JPMorgan Chase Statement Account ending 0359        G0027221-G0027228
        Jason Rogers Williams and Associates LLC
        February 28, 2015-March 31, 2015
596     JPMorgan Chase Statement Account ending 0359        G0027793-G0027798
        Jason Rogers Williams and Associates LLC June 01,
        2016-June 30, 2016
597     JPMorgan Chase Statement Account ending 0359        G0027932-G0027939
        Jason Rogers Williams and Associates LLC
        September 01, 2016-September 30, 2016
598     JPMorgan Chase Statement Account ending 0359        G0028171-G0028176
        Jason Rogers Williams and Associates LLC
        March 01, 2017-March 31, 2017
599     JPMorgan Chase Statement Account ending 0359        G0028313-G0028318
        Jason Rogers Williams and Associates LLC
        June 01, 2017-June 30, 2017
600     JPMorgan Chase Statement Account ending 0359        G0028463-G0028468
        Jason Rogers Williams and Associates LLC
        September 01, 2017-September 29, 2017
601     JPMorgan Chase Statement Account ending 0359        G0028528-G0028535
        Jason Rogers Williams and Associates LLC
        November 01, 2017-November 30, 2017
602     JPMorgan Chase Statement Account ending 0359        G0028723-G0028728
        Jason Rogers Williams and Associates LLC
        March 31, 2018-April 30, 2018
603     JPMorgan Chase Statement Account ending 0359        G0028920-G0029825
        Jason Rogers Williams and Associates LLC
        November 01, 2018-November 30, 2018
604     Slate from Chase                                    G0029043-G0029045
        Statement Account ending 7245
        Jason R Williams
        Opening/Closing Date 09/27/13-10/26/13

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
605     Slate from Chase                               G0029067-G0029070
        Statement Account ending 7245
        Jason R Williams
        Opening/Closing Date 03/27/14-04/26/14
606     JPMorgan Chase Statement Account ending 6597   G0024514-G0024519
        Jason Williams
        March 26, 2014-April 23, 2014
607     JPMorgan Chase Statement Account ending 6597   G0024528-G0024531
        Jason Williams
        April 24, 2014-May 23, 2014
608     JPMorgan Chase Statement Account ending 6597   G0024534-G0024537
        Jason Williams
        May 24, 2014-June 24, 2014
609     JPMorgan Chase Statement Account ending 6597   G0024544-G0024546
        Jason Williams
        June 25, 2014-July 24, 2014
610     JPMorgan Chase Statement Account ending 6597   G0024556-G0024559
        Jason Williams
        August 25, 2014-September 24, 2014
611     JPMorgan Chase Statement Account ending 6597   G0024568-G0024573
        Jason Williams
        September 25, 2014-October 24, 2014
612     JPMorgan Chase Statement Account ending 6597   G0024649-G0024652
        Jason Williams
        February 26, 2015-March 24, 2015
613     JPMorgan Chase Statement Account ending 6597   G0024678-G0024681
        Jason Williams
        April 24, 2015-May 26, 2015
614     JPMorgan Chase Statement Account ending 6597   G0024728-G0024731
        Jason Roger Williams
        August 26, 2015-September 24, 2015
615     JPMorgan Chase Statement Account ending 6597   G0024754-G0024757
        Jason Roger Williams
        October 27, 2015-November 25, 2015
616     JPMorgan Chase Statement Account ending 6597   G0024766-G0024769
        Jason Roger Williams
        November 26, 2015-December 23, 2015
617     JPMorgan Chase Statement Account ending 6597   G0024791-G0024794
        Jason Roger Williams
        January 28, 2016-February 24, 2016
618     JPMorgan Chase Statement Account ending 6597   G0024840-G0024843
        Jason Roger Williams
        May 25, 2016-June 23, 2016
619     JPMorgan Chase Statement Account ending 6597   G0024846-G0024849

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Jason Rogers Williams
        June 24, 2016-July 26, 2016
620     JPMorgan Chase Statement Account ending 6597   G0024854-G0024857
        Jason Rogers Williams
        July 27, 2016-August 23, 2016
621     JPMorgan Chase Statement Account ending 6597   G0024873-G0024876
        Jason Rogers Williams
        September 27, 2016-October 26, 2016
622     JPMorgan Chase Statement Account ending 6597   G0024905-G0024908
        Jason Rogers Williams
        February 25, 2017-March 23, 2017
623     JPMorgan Chase Statement Account ending 6597   G0024910-G0024913
        Jason Rogers Williams
        March 24, 2017-April 25, 2017
624     JPMorgan Chase Statement Account ending 6597   G0024923-G0024926
        Jason Rogers Williams
        May 24, 2017-June 23, 2017
625     JPMorgan Chase Statement Account ending 6597   G0024308-G0024311
        Jason Rogers Williams
        July 27, 2017-August 23, 2017
626     JPMorgan Chase Statement Account ending 6597   G0024316-G0024319
        Jason Rogers Williams
        August 24, 2017-September 26, 2017
627     JPMorgan Chase Statement Account ending 6597   G0024320-G0024323
        Jason Rogers Williams
        September 27, 2017-October 25, 2017
628     JPMorgan Chase Statement Account ending 6597   G0024324-G0024329
        Jason Rogers Williams
        October 26, 2017-November 24, 2017
629     JPMorgan Chase Statement Account ending 6597   G0024358-G0024361
        Jason Rogers Williams
        February 27, 2018-March 23, 2018
630     JPMorgan Chase Statement Account ending 6597   G0024366-G0024370
        Jason Rogers Williams
        March 24, 2018-April 24, 2018
631     JPMorgan Chase Statement Account ending 6597   G0024381-G0024384
        Jason Rogers Williams
        May 24, 2018-June 25, 2018
632     JPMorgan Chase Statement Account ending 6597   G0024387-G0024390
        Jason Rogers Williams
        June 26, 2018-July 25, 2018
633     JPMorgan Chase Statement Account ending 6597   G0025036-G0025041
        Jason Rogers Williams
        August 24, 2018-September 26, 2018

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
634     JPMorgan Chase Statement Account ending 6597   G0025043-G0025048
        Jason Rogers Williams
        September 27, 2018-October 24, 2018
635     JPMorgan Chase Statement Account ending 6597   G0025052-G0025059
        Jason Rogers Williams
        October 25, 2018-November 27, 2018
636     JPMorgan Chase Statement Account ending 6597   G0025060-G0025065
        Jason Rogers Williams
        November 28, 2018-December 26, 2018
637     Chase                                          G0029140-G0029143
        Statement Account ending 7173
        Jason R Williams
        Jason Rogers Williams
        Opening/Closing Date 05/22/15-06/21/15
638     Chase                                          G0029144-G0029147
        Statement Account ending 7173
        Jason R Williams
        Opening/Closing Date 06/22/15-07/21/15
639     Chase                                          G0029148-G0029151
        Statement Account ending 7173
        Jason R Williams
        Opening/Closing Date 07/22/15-08/21/15
640     Chase                                          G0029152-G0029155
        Statement Account ending 7173
        Jason R Williams
        Opening/Closing Date 08/22/15-09/21/15
641     Chase                                          G0029156-G0029159
        Statement Account ending 7173
        Jason R Williams
        Opening/Closing Date 09/22/15-10/21/15
642     Chase                                          G0029160-G0029163
        Statement Account ending 7173
        Jason R Williams
        Opening/Closing Date 10/22/15-11/21/15
643     Chase                                          G0029164-G0029167
        Statement Account ending 7173
        Jason R Williams
        Opening/Closing Date 11/22/15-12/21/15
644     Chase                                          G0029168-G0029171
        Statement Account ending 7173
        Jason R Williams
        Opening/Closing Date 12/22/15-01/21/16
645     Chase                                          G0029172-G0029175
        Statement Account ending 7173

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Jason R Williams
        Opening/Closing Date 01/22/16-02/21/16
646     Chase                                          G0029176-G0029179
        Statement Account ending 7173
        Jason R Williams
        Opening/Closing Date 02/22/16-03/21/16
647     Chase Statement Account ending 1761            G0022721-G0022725
        Jason R Williams
        Opening/Closing Date 03/04/17-04/03/17
648     Chase Statement Account ending 1761            G0022736-G0022742
        Jason R Williams
        Opening/Closing Date 05/04/17-06/03/17
649     Chase Statement Account ending 1761            G0022744-G0022749
        Jason R Williams
        Opening/Closing Date 06/04/17-07/03/17
650     Chase Statement Account ending 1761            G0022776-G0022781
        Jason R Williams
        Opening/Closing Date 10/04/17-11/03/17
651     Chase Statement Account ending 1761            G0022840-G0022845
        Jason R Williams
        Opening/Closing Date 06/04/18-07/03/18
652     JPMorgan Chase Statement Account ending 6597   G0024588-G0024593
        Jason Williams
        October 25, 2014-November 26, 2014
653     JPMorgan Chase Statement Account ending 6597   G0024609-G0024614
        Jason Williams
        November 27, 2014-December 23, 2014
654     JPMorgan Chase Statement Account ending 6597   G0024336-G0024339
        Jason Rogers Williams
        November 25, 2017-December 26, 2017
655     JPMorgan Chase Statement Account ending 0359   G0027052-G0027059
        Jason Rogers Williams and Associates, LLC
        November 01, 2014-November 28, 2014
656     JPMorgan Chase Statement Account ending 0359   G0027825-G0027830
        Jason Rogers Williams and Associates, LLC
        July 01, 2016-July 29, 2016
657     JPMorgan Chase Statement Account ending 0359   G0028681-G0028688
        Jason Rogers Williams and Associates, LLC
        March 01, 2018-March 30, 2018
658     Chase Statement Account ending 7245            G0029083-G0029086
        Jason R Williams
        Opening/Closing Date 07/27/14-08/26/14
659     Chase Statement Account ending 7245            G0029119-G0029122
        Jason R Williams

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EXHIBIT DESCRIPTION                                        BATES RANGE
NUMBER
        Opening/Closing Date 05/27/15-06/26/15
660     JPMorgan Chase Account ending 5770                 G0089499-G0089504
        Burdett Legal Consulting LLC
        June 01, 2018-June 29, 2018
661     JPMorgan Chase Account ending 5770                 G0089509-G0089514
        Burdett Legal Consulting LLC
        June 30, 2018-July 31, 2018
662     Disney Chase Account ending 7474                   G0105036-G0105039
        Troy Waguespack
        Opening/Closing Date 06/26/16-07/25/16
663     Disney Chase Account ending 7474                   G0105040-G0105043
        Troy Waguespack
        Opening/Closing Date 07/26/16-08/25/16
664     Chase Statement Account ending 1761                G0058884-G0058887
        Jason R Williams
        Opening/Closing Date 10/14/18-11/03/18
665     B&B Accounting Business Card                       G0126603
666     2014 Form 1040 U.S. Individual Income Tax Return   G0087348-G0087364
        Nicole E Burdett
667     2015 Form 1040 U.S. Individual Income Tax Return   G0087365-G0087383
        Nicole E Burdett
668     2017 Form 1040 U.S. Individual Income Tax Return   G0087397-G0087411
        Nicole E Burdett
669     2014 Form 1040 U.S. Individual Income Tax Return   G0087435-G0087444
        Troy M Waguespack
670     2015 Form 1040 U.S. Individual Income Tax Return   G0087445-G0087451
        Troy M Waguespack
671     2017 Form 1040 U.S. Individual Income Tax Return   G0087464-G0087471
        Troy M Waguespack
672     Form 1040X Amended U.S. Individual Income Tax      G0044487-G0044498
        Return for 2009
        Jason R Williams
        Bridget Barthelemy
673     2009 Form 1040 U.S. Individual Income Tax Return   G0044683-G0044690
        Jason R. Williams
        Bridget Barthelemy
674     2010 Form 1040 U.S. Individual Income Tax Return   G0044402-G0044409
        Jason R Williams
        Bridget Barthelemy
675     2011 Form 1040 U.S. Individual Income Tax Return   G0044433-G0044441
        Jason R. Williams
        Bridget Barthelemy
676     2012 Form 1040 U.S. Individual Income Tax Return   G0044785-G0044799
        Jason R Williams

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EXHIBIT DESCRIPTION                                        BATES RANGE
NUMBER
        Bridget Barthelemy
677     Henry Timothy Text                                 G0086712
678     Henry Timothy Text                                 G0086715
679     Henry Timothy Text                                 G0086716
680     Henry Timothy Text                                 G0086720-G0086721
681     Henry Timothy Text                                 G0086735
682     Henry Timothy Text                                 G0086745
683     Henry Timothy Text                                 G0086746
684     Henry Timothy Text                                 G0086750
685     2014 Form 1040 U.S. Individual Income Tax Return   G0044738-G0044755
        Jason R Williams
        Bridget Barthelemy
686     2015 Form 1040 U.S. Individual Income Tax Return   G0044765-G0044779
        Jason R Williams
687     2016 Form 1040 U.S. Individual Income Tax Return   G0044851-G0044868
        Jason R Williams
688     2017 Form 1040 U.S. Individual Income Tax Return   G0044830-G0044843
        Jason R Williams
689     2016 Form 1040 U.S. Individual Income Tax Return   G0087384-G0087396
        Nicole E Burdett
690     2016 Form 1040 U.S. Individual Income Tax Return   G0087452-G0087463
        Troy M Waguespack
691     Henry Timothy Text                                 G0086701
692     Henry Timothy Text                                 G0086702
693     Henry Timothy Text                                 G0086703
694     Henry Timothy Text                                 G0086704

695        Tulane University Law School                    G0127305-G0127306
           1996-97 Catalog
696        Wells Fargo                                     G0087811-G0087813
           Spreadsheet – Accounts ending 5601, 0138
           Nicole Burdett
697        Ace Mortgage, LLC                               G0087814-G0087818
           Uniform Residential Loan Application
           FHA $264,651.00
           Refinance Hooper Dr
           Nicole Burdett
698        Settlement Statement                            G0087819-G0087821
           FHA, Loan Number ending 0395
           Nicole Elizabeth Burdett
           Hooper Drive, Kenner, LA
699        Note, Loan ending 0395                          G0087822-G0087823
           Date July 25, 2012
           Hooper Drive, Kenner, LA
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EXHIBIT DESCRIPTION                                               BATES RANGE
NUMBER
700     Mortgage Filed and Recorded Jefferson Parish              G0087824-G0087832
        Date 8/1/2012
        Loan ending 0395
701     March 2, 2017 correspondence from Wells Fargo Home        G0087833
        Mortgage to Nicole Elizabeth Burdett
        Subject FHA mortgage insurance cancellation request
702     04/29/15 correspondence from Wells Fargo Home             G0087834
        Mortgage to Nicole Elizabeth Burdett
        Subject FHA Mortgage insurance inquiry
        FHA Case Number 221-4862895
703     June 3, 2016 correspondence from Wells Fargo Home         G0087835
        Mortgage to Nicole Elizabeth Burdett
        Subject Confirmation of insurance premium payment
        Policy number: 1001024638
704     05/10/03 correspondence from Wells Fargo Home             G0087836-G0087839
        Mortgage to Nicole Elizabeth Burdett
        Re Preferred Payment Plan options
705     March 28, 2016 correspondence from Wells Fargo Home       G0087840-G0087842
        Mortgage to Nicole Elizabeth Burdett
        Subject Chane in the amount of flood insurance required
        Loan number ending 6486
        Property address: Hooper Drive, Kenner, LA 70065
706     09/06/12 correspondence from Wells Fargo Home             G0087843-G0087847
        Mortgage to Nicole Burdett
        Subject Wells Fargo Home Mortgage account number
        ending 6586
707     May 28, 2019 correspondence from Wells Fargo Home         G0087853
        Mortgage to Nicole Elizabeth Burdett
        Subject Important notice concerning flood insurance
        required Notice date: May 28, 2019
708     February 28, 2019 correspondence from Wells Fargo         G0087854-G0087855
        Home Mortgage to Nicole Elizabeth Burdett
        Subject We’ve paid the premium for your new insurance
        policy
        Policy number ULH572514200
709     Credit Report                                             G0087856-G0087867
        Nicole E Burdett
710     Direct Deposit Statements                                 G0087868-G0087872
        To Nicole E Burdett
        From Jason Rogers Williams & Associates, LLC
        Dates: 5/15/2012, 5/18/2012, 5/11/2012, 5/4/2012,
        4/27/2012
711     May 16, 2012 correspondence from Direct Loans to          G0087873
        Nicole E Burdett

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EXHIBIT DESCRIPTION                                                BATES RANGE
NUMBER
        Account Number ending 6973
712     Internal Revenue Service                                   G0087874-G0087880
        Record of Account
        Tax Period: Dec 31, 2010
713     Form 8821, Tax Information Authorization                   G0087881-G0087884
        Loan # ending 0395
714     Mortgage Interest Statement                                G0087885-G0087886
        2015
        Hooper Drive, Kenner, LA
        Payer Nicole Elizabeth Burdett
715     Mortgage Interest Statement                                G0087887-G008788
        2019
        Hooper Drive, Kenner, LA
        Payer Nicole Elizabeth Burdett
716     Mortgage Interest Statement                                G0087889-G0087890
        2017
        Hooper Drive, Kenner, LA
        Payer Nicole Elizabeth Burdett
717     Mortgage Interest Statement                                G0087891-G0087892
        2016
        Hooper Drive, Kenner, LA
        Payer Nicole Elizabeth Burdett
718     Mortgage Interest Statement                                G0087893-G0087894
        2018
        Hooper Drive, Kenner, LA
        Payer Nicole Elizabeth Burdett
719     FinCEN 8300 Transcript                                     G0016763-G0016765
        Initial Report
        Filing Date 04/27/2010
        Amount and Type of Transaction: $16,000; Real
        property purchased; Hooper Drive, Kenner, LA
        Person Involved in Transaction: Nicole E Burdett
720     FinCen 8300 Transcript                                     G0016766-G0016769
        Initial Report
        Filing Date 02/09/2012
        Type of Transaction: Cash Received $108,000
        Satisfaction of Judgment in Civil District Court for the
        Parish of Orleans
        Person Involved in Transaction 1 of 3: 250 S Broad Inc,
        Convenience Store
        Person Involved in Transaction 2 of 3: Burdette
        Person Involved in Transaction 3 of 3: Kaki Inc.
721     FinCen CTR Transcript                                      G0021485-G0021487
        Initial Report

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EXHIBIT DESCRIPTION                                               BATES RANGE
NUMBER
        Filing Date 03/02/2011
        Type of Transaction: Cash Out $40,000
        Person Involved in Transaction 1 of 2: Jason Rogers
        Williams & Associates
        Person Involved in Transaction 2 of 2: Jason R Williams
722     FinCEN CTR Transcript                                     G0021488-G0021490
        Initial Report
        Filing Date: 11/13/2002
        Type of Transaction: Cash Out $14,015
        Person Involved in Transaction 1 of 1: Jason Williams
723     FinCEN CTR Transcript                                     G0021491-G0021493
        Initial Report
        Filing Date: 04/28/2004
        Type of Transaction: Cash Out $10,010
        Person Involved in Transaction 1 of 1: Jason R Williams
724     FinCEN CTR Transcript                                     G0021494-G0021496
        Initial Report
        Filing Date: 04/30/2010
        Type of Transaction: Cash Out $20,500
        Person Involved in Transaction 1 of 1: Jason R Williams
725     FinCEN CTR Transcript                                     G0021497-G0021499
        Initial Report
        Filing Date: 12/08/2010
        Type of Transaction: Cash In $11,000
        Person Involved in Transaction 1 of 1: Nicole E Burdett
        on behalf of Jason R Williams
726     FinCEN BCTR Transcript                                    G0021500-G0021502
        Initial Report
        Filing Date: 01/03/2014
        Type of Transaction: Cash Out $50,000
        Person Involved in Transaction 1 of 1: Jason Rogers
        Williams
727     FinCEN CTR Transcript                                     G0021503-G0021505
        Initial Report
        Filing Date: 10/17/2012
        Type of Transaction: Cash In $737,730
        Person Involved in Transaction 1 of 1: Dudley Debosier
        Injury Lawyers
        Person Involved in Transaction 2 of 2: Jason Williams
728     FinCEN CTR Transcript                                     G0021506-G0021508
        Initial Report
        Filing Date: 11/01/2002
        Type of Transaction: Cash In $14,000
        Person Involved in Transaction 1 of 1: Jason R Williams

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EXHIBIT DESCRIPTION                                               BATES RANGE
NUMBER
729     FinCEN CTR Transcript                                     G0021509-G0021511
        Initial Report
        Filing Date: 12/30/2009
        Type of Transaction: Cash Out $18,000
        Person Involved in Transaction 1 of 1: Jason R Williams
730     FinCEN BCTR Transcript                                    G0021512-G0021514
        Initial Report
        Filing Date: 01/30/2014
        Type of Transaction: Cash Out $20,000
        Person Involved in Transaction 1 of 1: Nicole Burdett
731     FinCEN BCTR Transcript                                    G0021515-G0021517
        Initial Report
        Filing Date: 01/24/2014
        Type of Transaction: Cash In $15,000
        Person Involved in Transaction 1 of 1: Nicole Elizabeth
        Burdett
732     FinCEN BCTR Transcript                                    G0021518-G0021520
        Initial Report
        Filing Date: 12/17/2013
        Type of Transaction: Cash Out $30,000
        Person Involved in Transaction 1 of 1: Nicole E Burdett
733     FinCEN CTR Transcript                                     G0021521-G0021523
        Initial Report
        Filing Date: 08/30/2013
        Type of Transaction: Cash In $15,000
        Person Involved in Transaction 1 of 1: Nicole Burdett
734     FinCEN BCTR Transcript                                    G0021524-G0021526
        Initial Report
        Filing Date: 10/24/2019
        Type of Transaction: Cash Out $14,278
        Person Involved in Transaction 1 of 1: Nicole Elizabeth
        Burdett
735     FinCEN CTR Transcript                                     G0021527-G0021529
        Initial Report
        Filing Date: 08/09/2011
        Type of Transaction: Cash Out $11,200
        Person Involved in Transaction 1 of 1: Nicole E Burdett
736     FinCEN CTR Transcript                                     G0021530-G0021532
        Initial Report
        Filing Date: 07/13/2011
        Type of Transaction: Cash Out $22,453
        Person Involved in Transaction 1 of 1: Nicole Elizabeth
        Burdett
737     FinCEN CTR Transcript                                     G0021533-G0021535

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EXHIBIT DESCRIPTION                                               BATES RANGE
NUMBER
        Initial Report
        Filing Date: 12/08/2010
        Type of Transaction: Cash In $11,000
        Person Involved in Transaction 1 of 1: Nicole E Burdett
738     FinCEN CTR Transcript                                     G0021536-G0021538
        Initial Report
        Filing Date: 07/20/2011
        Type of Transaction: Cash In $22,453
        Person Involved in Transaction 1 of 1: Nicole Burdett
739     TopDogLegal                                               G0001524-G0001532
        JRW and Associates – New Orleans – NEB
        From 1/1/2013 to 12/31/2013
740     TopDogLegal                                               G0001533-G0001539
        JRW and Associates – New Orleans – NEB
        From 1/2/2014 to 12/30/2014
741     TopDogLegal                                               G0001540-G0001544
        JRW and Associates – New Orleans – NEB
        From 1/5/2015 to 12/29/2015
742     TopDogLegal                                               G0001545-G0001547
        JRW and Associates – New Orleans – NEB
        From 1/4/2016 to 12/31/2016
743     TopDogLegal                                               G0001548-G0001551
        JRW and Associates – New Orleans – NEB
        From 1/1/2017 to 12/22/2017
744     TopDogLegal                                               G0001552-G0001555
        JRW and Associates – New Orleans – NEB
        From 1/1/2018 to 12/27/2018
745     TopDogLegal                                               G0001556-G0001557
        JRW and Associates – New Orleans – NEB
        From 1/2/2019 to 5/21/2019
746     2014 Jason R Williams & Associates, LLC                   G0127300,
        Cash Receipt Journal                                      G0127269
        No. 799001-799016                                         G0127301-G0127302
747     2015 Jason R Williams & Associates, LLC                   G0127268-G0127289
        Cash Receipt Journal No. 799018-799104
748     2015 Jason R Williams & Associates, LLC                   G0127299
        Cash Receipt Journal No. 800201-800204
749     2015 Jason R Williams & Associates, LLC                   G0127218-G0127224
        Cash Receipt Journal No. 801201-801230
750     2016 Jason R Williams & Associates, LLC                   G0127224-G0127240
        Cash Receipt Journal No. 801231-801294
751     2017 Jason R Williams & Associates, LLC                   G0127240-G0127256
        Cash Receipt Journal No. 801295-801358
752     2018 Jason R Williams & Associates, LLC                   G0127267

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EXHIBIT DESCRIPTION                                             BATES RANGE
NUMBER
        Cash Receipt Journal No. 594601-591602
753     2018 Jason R Williams & Associates, LLC                 G0127290-G0127293
        Cash Receipt Journal No. 799106-799120
754     2018 Jason R Williams & Associates, LLC                 G0127256-G0127266
        Cash Receipt Journal 801359-801400
755     2019 Jason R Williams & Associates, LLC                 G0127294-G0127298
        Cash Receipt Journal No. 799121-799140
756     Email from Nicole Burdett to Alicia Winn                G0057105-G0057110
        Sent: Thursday, April 14, 2019 5:23 pm
        Subject: Fwd: IRS Direction Pay Confirmation of
        Scheduled Transaction
757     Act of Cash Sale                                        G0056979-G0056977
        By: Stephanie Bosse Barksdale, Wife of/and John David
        Barksdale
        To: Elizabeth A. Marcell Williams, Wife of/and Jason
        R. William
        State of Louisiana
        Parish of Orleans
        19th day of March, 2019
758     Closing Disclosure                                      G0057043-G0057049
        Closing Information: Date Issued: 03/18/2019
        Closing Date: 03/19/2019
        Disbursement Date: 03/19/2019
        Settlement Agent: Title Link, LLC
        File # 02-19-04
        Property: Saint Charles Ave, New Orleans, LA 70115
        Sale Price: $1,410,000
        Transaction Information:
        Borrower: Jason R. Williams and Elizabeth A Marcell
        Williams
        Seller: Stephanie Barksdale
        Lender: Crescent City Home Mortgage, LLC
759     2006 Form 1040X                                         G0043127-G0043136
        Amended U.S. Individual Income Tax Return
        Jason R Williams
760     Liberty Bank Statement of Jason Williams Campaign       G0030955-G0030956
        Fund
        Account ending 8762
        12/30/16 to 01/31/17
761     Jason Williams Campaign Fund Check 363; 1/3/2017        G0031048
        Pay to the Order of Arsement Media Group $9,350.00
        Account ending 8762
762     Regions Cashier’s Check 5503800513,                     G0028436
        0810/2017

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EXHIBIT DESCRIPTION                                                BATES RANGE
NUMBER
        Pay to the Order of
        Jason Williams & Associates in the amount of
        $10,000.00
        Purchaser Ingrid Raboteau-Kieffer
763     Regions Cashier’s Check 5503800732,                        G0028621
        01/09/2018
        Pay to the Order of Jason R. Williams Law Firm in the
        amount of $5,000.00
        Purchaser Ingrid Raboteau-Kieffer
764     U.S. v. Gregory Sauzer; Criminal No. 22-____; filed Bill
        of Information; Plea Agreement with Attachment A
765     Nicole E. Burdett                                          G0103738
        Troy M. Waguespack
        Check No. 1003
        Date: 4/27/2018
        Pay to Waterscapes Pool & Spa
        $18,000.00
        Memo: Hooper Dr – 2nd paymt.
        Account ending: 5317
766     Nicole E. Burdett                                          G0103739
        Troy M. Waguespack
        Check No. 1005
        Date: 5/17/18
        Pay to The Order of: Waterscapes Pool & Spa
        $18,000.00
        Memo: Hooper Dr. Pool
        Account ending: 5317
767     Nicole E. Burdett                                          G0103761
        Troy M. Waguespack
        Check No. 1010
        Date: 7/8/2018
        Pay to The Order of: Waterscapes Pool & Spa, Inc.
        $4,500.00
        Memo: final payment – Hooper
        Account ending: 5317
768     Nicole E. Burdett                                          G0103762
        Troy M. Waguespack
        Check No. 1012
        Date: 7/8/18
        Pay To the Order of: Brad Tedesco
        $905.00
        Memo: removal, plants, sand
        Account ending: 5317
769     Nicole E. Burdett                                          G0094855

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EXHIBIT DESCRIPTION                                    BATES RANGE
NUMBER
        Troy Waguespack
        Check No. 1124
        Date: 6/4/2015
        Pay To the Order of Luxury Outdoor Designs
        $1,260.00
        For: Hooper Dr. - #88
        Account ending 5601
770     Nicole E. Burdett                              G0094860
        Troy Waguespack
        Check No. 1126
        Date: 6/15/2015
        Pay To the Order of Luxury Outdoor Designs
        $3,780.00
        For: Est. – 88 – 30% payment
        Account ending 5601
771     Nicole E. Burdett                              G0094862
        Troy Waguespack
        Check No. 1128
        Date: 6/23/2015
        Pay To the Order of Luxury Outdoor Designs
        $3,150.00
        For: Estimate #88 – 3rd payment
        Account ending 5601
772     Nicole E. Burdett                              G0094869
        Troy Waguespack
        Check No. 1129
        Date: 6/27/2015
        Pay To the Order of Luxury Outdoor Designs
        $3,150.00
        For: Estimate #88 – 90% payment
        Account ending 5601
773     Nicole E. Burdett                              G0094877
        Troy Waguespack
        Check No. 1130
        Date: 7/15/2015
        Pay To the Order of Luxury Outdoor Designs
        $1,260.00
        For: Final Payment
        Account ending 5601
774     IRS Form 8300 Reference Guide                  G0016558-G0016570
775     Candidate’s Report                             G0014868-G0014880
        Report Number 68310
        Date Filed: 2/7/2017
        Jason Rogers Williams

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EXHIBIT DESCRIPTION                                              BATES RANGE
NUMBER
        Date of Primary 2/1/2014
        Reports covers from 1/1/2017-12/31/2017


                                     Respectfully submitted:
                                     MERRICK B. GARLAND
                                     United States Attorney General

                                     BRANDON B. BROWN
                                     United States Attorney
                                     Western District of Louisiana


                              BY:    /s/ Kelly P. Uebinger
                                     KELLY P. UEBINGER, (Bar No. 21028)
                                     ALEXANDER C. VAN HOOK, (Bar No. 25281)
                                     JESSICA D. CASSIDY, (Bar No. 34477)
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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                     *        CRIMINAL NO. 20-cr-00055
                                             *             SECT. F. MAG.4
VERSUS                                       *
                                             *        JUDGE AFRICK
JASON R. WILLIAMS            (01)            *
NICOLE E. BURDETT            (02)            *        MAGISTRATE JUDGE ROBY


UNITED STATES OF AMERICA                     *        CRIMINAL NO. 20-cr-00139
                                             *             SECT. F. MAG.3
                                             *
VERSUS                                       *        JUDGE AFRICK
                                             *
NICOLE E. BURDETT            (01)            *        MAGISTRATE JUDGE DOUGLAS


                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Government’s Proposed Exhibit List is being
filed with the Clerk of Court using the CMECF system, by which a copy will be provided to all
counsel of record.

       This the 15th day of June, 2022, at Lafayette, Louisiana.

                                             /s/ Kelly P. Uebinger
                                             KELLY P. UEBINGER, La. Bar No. 21028
                                             ALEXANDER C. VAN HOOK, La Bar No. 25281
                                             JESSICA D. CASSIDY, La. Bar No. 34477
                                             Assistant United States Attorneys




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